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POMERANTZ LLP
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Counsel for Movant Cameron Wyatt
and Proposed Lead Counsel for the
Class

                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

TREY GREENE, individually and on           Case No. 2:23-cv-01165-KM-LDW
behalf of all others similarly situated,
                                           DECLARATION OF THOMAS H.
                           Plaintiff,      PRZYBYLOWSKI IN SUPPORT
                                           OF MOTION OF CAMERON
     v.                                    WYATT FOR APPOINTMENT AS
                                           LEAD PLAINTIFF AND
ZAC PRINCE, FLORI MARQUEZ,                 APPROVAL OF LEAD
TONY LAURA, JENNIFER HILL                  PLAINTIFF’S SELECTION OF
and GEMINI TRADING, LLC,                   LEAD COUNSEL

                           Defendants.
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I, Thomas H. Przybylowski, hereby declare as follows:

      1.     I am an attorney with the law firm of Pomerantz LLP (“Pomerantz”),

counsel on behalf of Cameron Wyatt (“Wyatt”), and have personal knowledge of

the facts set forth herein. I make this Declaration in support of Wyatt’s motion for

appointment as Lead Plaintiff for the Class and approval of Wyatt’s selection of

Pomerantz as Lead Counsel for the Class.

      2.     Attached hereto as the exhibits indicated are true and correct copies of

the following:

             Exhibit A: Chart reflecting Wyatt’s financial interest in this
                        litigation;

             Exhibit B:   Press release announcing the pendency of the above-
                          captioned action;

             Exhibit C:   Certification executed by Wyatt;

             Exhibit D: Declaration executed by Wyatt; and

             Exhibit E:   Firm resume of Pomerantz.

      I declare under penalty of perjury under the laws of the United States of

America that the foregoing facts are true and correct.

      Executed on May 1, 2023, at New York, New York.

                                                    /s/ Thomas H. Przybylowski
                                                        Thomas H. Przybylowski




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               EXHIBIT A
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                    BlockFi Interest Accounts (BIA)
                    Class Period:
                    (Includes 90-Day Sales @ Statutory Pricing)


                                                        Purchase            Transaction              Token                    USD
                    Plaintiff                             Date                 Type         Asset   Amount       Price*      Amount

                    Cameron Wyatt                       11/10/2022 Locked Coins           BTC           227.06     $17,587   ($3,993,259)
                    Cameron Wyatt                       11/10/2022 Locked Coins           ETH             8.85      $1,299      ($11,497)
                    Cameron Wyatt                       11/10/2022 Locked Coins           GUSD       27,622.66          $1      ($27,623)
                    Cameron Wyatt                       11/10/2022 Locked Coins           LINK          155.16       $7.21       ($1,119)
                    Cameron Wyatt                       11/10/2022 Locked Coins           USDC      102,402.47          $1     ($102,402)
                    Cameron Wyatt                                                                                            ($4,135,900)




*Price is the closing price as of that day according to finance.yahoo.com
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               EXHIBIT B
5/1/23, 1:18Case
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                         Squitieri & Fearon LLP andDocument      7-3 FileFiled
                                                    Moore Kuehn PLLC            05/01/23
                                                                          Class Action          Page
                                                                                       Suit Against      6 of
                                                                                                    BlockFi, Inc.75  PageID:
                                                                                                                 founder         168
                                                                                                                         Zac Prince, et al.




   Squitieri & Fearon LLP and Moore Kuehn
   PLLC File Class Action Suit Against
   BlockFi, Inc. founder Zac Prince, et al.
   New York, New York--(Newsfile Corp. - February 28, 2023) - Squitieri & Fearon LLP and Moore Kuehn PLLC today
   announced that it filed a class action seeking to represent stockholders of BlockFi, Inc. ("BlockFi") who purchased their
   BlockFi unregistered BlockFi Interest Accounts ("BIAs") between March 4, 2019 and November 10, 2022 (the "Class
   Period").

   This class action was filed in the District of New Jersey and is captioned Trey Greene, Individually and on Behalf of All
   Others Similarly Situated v. Zac Prince, et al., Case No. 2:23-cv-01165 ("the BlockFi class action").

   The Private Securities Litigation Reform Act of 1995 permits any investor who purchased BIAs during the Class Period to
   seek appointment as lead plaintiff in the BlockFi class action lawsuit. A lead plaintiff is generally the movant with the
   greatest financial interest in the relief sought by the putative class who is also typical and adequate of the putative class. A
   lead plaintiff acts on behalf of all other class members in directing the BlockFi class action lawsuit.

   The lead plaintiff can select a law firm of their choice to litigate the BlockFi class action lawsuit. An investor's ability to
   share in any potential future recovery of the BlockFi class action lawsuit is not dependent upon serving as lead plaintiff. If
   you wish to serve as lead plaintiff in the BlockFi class action lawsuit, you must move the Court no later than 60 days from
   February 28, 2023. If you wish to discuss the BlockFi class action lawsuit or have any questions concerning this notice or
   your rights or interests, please contact plaintiff's counsel, Lee Squitieri of Squitieri & Fearon LLP at (212) 421-6492 or via e-
   mail at lee@sfclasslaw.com (mailto:lee@sfclasslaw.com) or Fletcher Moore of Moore Kuehn PLLC at (212) 709-8245 or via
   e-mail at fmoore@moorekuehn.com (mailto:fmoore@moorekuehn.com)

   The BlockFi class action lawsuit charges certain BlockFi officers with violations of securities laws. The BlockFi class action
   complaint alleges that, throughout the Class Period, class members were sold unregistered securities by the crypto
   company BlockFi, Inc., a New Jersey based company founded by Zac Prince and Flori Marquez and controlled by
   Defendants Zac Prince, Flori Marquez, Tony Laura, and Jennifer Hill (collectively "BFI Defendants"). The unregistered
   securities sold by the BFI Defendants on behalf of BlockFi were marketed and sold via a steady stream of
   misrepresentations and material omissions by founders Zac Prince and Flori Marquez over several years and through
   intermittent misrepresentations by Defendant Gemini Trading LLC.

   The truth about Prince's and Marquez's misrepresentations about BlockFi started to unravel when, among other things,
   California's financial regulator revoked (https://api.newsfilecorp.com/redirect/y3G8nSq2K0) BlockFi's lending license for
   failure to comply with California loan underwriting standards concerning the creditworthiness of borrowers and their
   ability to repay loans. Thereafter, additional disclosures established the extent and materiality of Prince and Marquez'
   misrepresentations during the Class Period.

   Squitieri & Fearon, LLP is one of the Nation's leading law firms representing investors in securities litigation. Squitieri &
   Fearon has been recognized by courts throughout the country for its high-quality and professional experience handling
   complex lawsuits, particularly in the fields of securities, ERISA, wage and hour, mass torts, shareholder derivative actions
   and antitrust claims. Squitieri & Fearon attorneys are consistently recognized by courts, professional organizations and
   the media as leading lawyers in the industry. Please visit http://www.sfclasslaw.com
   (https://api.newsfilecorp.com/redirect/1zGD8CL2A3) for more information.




https://www.newsfilecorp.com/release/156661                                                                                                   1/2
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                                                                                                                         Zac Prince, et al.

   Moore Kuehn is a New York City law firm with attorneys representing investors and consumers in litigation involving class
   actions, securities laws, breaches of fiduciary duties, and other claims. For additional information about Moore Kuehn,
   please visit http://www.moorekuehn.com/practice/new-york-securities-litigation/
   (https://api.newsfilecorp.com/redirect/aV3GOC8pNV).

   Contact:

   Squitieri & Fearon, LLP
   Lee Squitieri (212) 421-6492
   lee@sfclasslaw.com (mailto:lee@sfclasslaw.com)

   or

   Moore Kuehn PLLC
   Fletcher Moore (212) 709-8245
   fmoore@moorekuehn.com (mailto:fmoore@moorekuehn.com)




   To view the source version of this press release, please visit https://www.newsfilecorp.com/release/156661
   (https://api.newsfilecorp.com/redirect/Z45rQFwjW5)




https://www.newsfilecorp.com/release/156661                                                                                                   2/2
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                EXHIBIT C
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                                               CERTIFICATION PURSUANT
                                             TO FEDERAL SECURITIES LAWS

                                            
                     1.       I, __________________________________________, make this declaration

             pursuant to Section 27(a)(2) of the Securities Act of 1933 (“Securities Act”) and/or Section

             21D(a)(2) of the Securities Exchange Act of 1934 (“Exchange Act”) as amended by the Private

             Securities Litigation Reform Act of 1995.

                     2.       I have reviewed a Complaint against officers and directors of BlockFi, Inc.

             (“BlockFi”) and authorize the filing of a comparable complaint on my behalf.

                     3.       I did not invest in BlockFi Interest Accounts (“BIAs”) at the direction of plaintiffs’

             counsel or in order to participate in any private action arising under the Securities Act or Exchange

             Act.

                     4.       I am willing to serve as a representative party on behalf of a Class of persons who

             invested in BIAs during the Class Period as specified in the Complaint, including providing

             testimony at deposition and trial, if necessary. I understand that the Court has the authority to

             select the most adequate lead plaintiff in this action.

                     5.       The attached sheet lists all of my investments in BIAs during the Class Period as

             specified in the Complaint.

                     6.       During the three-year period preceding the date on which this Certification is

             signed, I have not served or sought to serve as a representative party on behalf of a class under the

             federal securities laws.

                     7.       I agree not to accept any payment for serving as a representative party on behalf of

             the class as set forth in the Complaint, beyond my pro rata share of any recovery, except such

             reasonable costs and expenses directly relating to the representation of the class as ordered or

             approved by the Court.
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                     8.       I declare under penalty of perjury under the laws of the United States of America

             that the foregoing is true and correct.



                               
             Executed _____________________________
                          (Date)



                                                           _______________________________________
                                                                 (Signature)

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                                                           _______________________________________
                                                                 (Type or Print Name)
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 BlockFi Interest Accounts (BIA)                                                       Cameron Wyatt

                                            List of Purchases and Sales

      Transaction                           Number of                               Price Per
         Type                      Date     Shares/Unit                   Asset    Share/Unit

     Locked Coins              11/10/2022       227                        BTC    $17,586.7715
     Locked Coins              11/10/2022        9                         ETH    $1,299.4646
     Locked Coins              11/10/2022     27,623                      GUSD      $1.0000
     Locked Coins              11/10/2022       155                       LINK      $7.2147
     Locked Coins              11/10/2022     102,402                     USDC      $1.0000
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                EXHIBIT D
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                            DECLARATION IN SUPPORT OF LEAD PLAINTIFF MOTION

             I, the undersigned, pursuant to 28 U.S.C. § 1746, declare as follows:

                      1.       I, Cameron Wyatt, respectfully submit this Declaration in support of my motion,

             pursuant to the Private Securities Litigation Reform Act of 1995 (“PSLRA”), for appointment as

             Lead Plaintiff and approval of my selection of Pomerantz LLP (“Pomerantz”) as Lead Counsel in

             the instant class action on behalf of all persons who invested in BlockFi, Inc. (“BlockFi” or the

             “Company”) or otherwise purchased BlockFi Interest Accounts. In addition to Pomerantz, I am

             also represented by the Bronstein, Gewirtz & Grossman, LLC law firm in this action. I am

             informed of and understand the requirements and duties imposed by the PSLRA. I have personal

             knowledge about the information in this Declaration.

                      2.       I, Cameron Wyatt, live in Gilbert, Arizona. I have a Bachelor of Science degree in

             Engineering from University of Arizona and am an engineer. I have experience working with

             attorneys. I am 39 years old and have been investing in cryptocurrencies for ten years. I suffered

             substantial losses as a result of the violations of the federal securities laws alleged in this action.

                      3.       I have discussed this case with my counsel. Accordingly, I am aware of the current

             status of this litigation. I understand that in addition to myself, other class members may file

             motions seeking appointment as Lead Plaintiff in this action. I understand that on May 1, 2023,

             Pomerantz will file a memorandum of law in support of my motion for appointment as Lead

             Plaintiff.    I understand that this Declaration and other supporting submissions prepared by

             Pomerantz will be filed concurrently with the memorandum of law. I understand that the Lead

             Plaintiff role includes evaluating the strengths and weaknesses of the case and prospects for

             resolution of this matter. I understand that it is the Lead Plaintiff’s responsibility to direct counsel

             with respect to this litigation, after receiving the benefit of counsel’s advice. I attended a



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             conference call with an attorney from Pomerantz and approved Pomerantz as my designated Lead

             Counsel. I approved the filing of a motion on my behalf seeking appointment as Lead Plaintiff.

                      4.       I attest to, among other things, my belief in the merits of this action; my desire to

             achieve the best possible result for the Class; my interest in prosecuting this case; my

             understanding of the fiduciary obligations of a Lead Plaintiff; and my preparedness to supervise

             counsel and undertake all actions necessary to ensure that the Class’s claims will be zealously and

             efficiently litigated. I hereby affirm that the foregoing statements, as well as all other statements

             set forth in this Declaration, are true and correct statements of my views and intentions with respect

             to this litigation, and that I seek appointment as Lead Plaintiff in this action.

                      5.       Given my significant financial interest in the claims against the defendants, I am

             strongly motivated to recover the significant losses that I and the Class suffered as a result of

             defendants’ violations of the federal securities laws. My principal goal in seeking to serve as Lead

             Plaintiff in this case is to achieve the best possible recovery for the Class from all culpable parties.

             I am committed to ensuring the litigation is litigated as zealously and efficiently as possible, in

             accordance with my duties under the PSLRA.

                      6.       If appointed Lead Plaintiff, I will satisfy my fiduciary obligations to the Class by,

             among other steps, conferring with my counsel regarding litigation strategy and other matters,

             attending court proceedings, depositions, any settlement mediations, and hearings as needed, and

             reviewing and authorizing the filing of important litigation documents. Through these and other

             measures, I will ensure that this litigation will be vigorously prosecuted consistent with the

             obligations of a Lead Plaintiff under the PSLRA and in the best interests of the Class, and will

             seek to obtain the greatest possible recovery for the Class.




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                      7.       After reviewing the allegations pleaded in the complaint, and consulting with my

             counsel, I independently determined to seek appointment as Lead Plaintiff, and subsequently

             approved the filing of a motion seeking my appointment as Lead Plaintiff. I agree that my

             resources and ability to engage in decision-making will materially benefit and advance the interests

             of the Class in this case.

                      8.       I understand that the Lead Plaintiff’s share of any recovery is the same as every

             other potential Class member. As my Certification states, I will not accept any payment for serving

             as a representative party beyond my pro rata share, except any reasonable costs and expenses

             directly related to the Class representation as ordered or approved by the Court pursuant to the

             PSLRA.

                      9.       I understand that the PSLRA and courts throughout the country, including courts in

             this District, have endorsed the appointment of investors to serve as Lead Plaintiff when investors

             establish that they can oversee the litigation and their proposed Lead Counsel in an independent

             manner. I intend to prosecute this litigation in such an independent and vigorous manner.

                      10.      I also understand and appreciate the Lead Plaintiff’s obligation under the PSLRA

             to select Lead Counsel and to monitor the action to ensure it is prosecuted efficiently. I have

             fulfilled this responsibility by selecting and retaining Lead Counsel with a proven history of

             handling this type of complex litigation. In this case, I selected Pomerantz to serve as Lead

             Counsel. Based on Pomerantz’s experience in achieving substantial recoveries in securities class

             actions, I believe that the firm is well-qualified to represent the Class.

                      11.      Pomerantz has been directed to prosecute this action in an efficient, cost-effective

             manner while obtaining the best possible result for the Class. I will continue to supervise counsel




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             and actively oversee the prosecution of the action for the benefit of the Class by, among other

             things, reviewing pleadings, instructing counsel, and/or attending hearings, as necessary.




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             Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the United States
             of America that the foregoing statements are true and correct to the best of my knowledge.
                                   
             Executed on this __________ day of May, 2023.


             _________________________

             Cameron Wyatt




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                EXHIBIT E
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    History Pomerantz LLP is one of the most respected law firms in the United States dedicated
    to representing investors. The Firm was founded in 1936 by the late Abraham L. Pomerantz,
    widely regarded as a legal pioneer and “dean” of the plaintiffs’ securities bar, who helped secure
    the right of investors to bring class and derivative actions.

    Leadership Today, led by Managing Partner Jeremy A. Lieberman, the Firm maintains the
    commitments to excellence and integrity passed down by Abe Pomerantz.

    Results Pomerantz achieved a historic $3 billion settlement for defrauded investors in 2018
    as well as precedent-setting legal rulings, in In re Petrobras Securities Litigation. Pomerantz
    consistently shapes the law, winning landmark decisions that expand and protect investor rights
    and initiating historic corporate governance reforms.

    Global Expertise The Firm has offices in Paris, France, London, the UK, and Tel Aviv,
    Israel. Pomerantz also partners with an extensive network of prominent law firms across the
    globe to assist clients, wherever they are situated, in recovering monies lost due to corporate
    misconduct and securities fraud. Our team of attorneys is collectively fluent in English, Arabic,
    Cantonese, Mandarin, French, Hebrew, Italian, Portuguese, Romanian, Russian, Spanish, and
    Ukrainian.

    Practice        Pomerantz protects, expands, and vindicates shareholder rights through our
    securities litigation services and portfolio monitoring service. The Firm represents some of the
    largest pension funds, asset managers and institutional investors around the globe, monitoring
    assets of $8 trillion. Pomerantz’s practice includes corporate governance, antitrust, and strategic
    consumer litigation.

    Recognition Pomerantz is a 2021 Legal 500 Tier 1 Firm. In 2020 Pomerantz was named
    Plaintiff Firm of the Year by Benchmark Litigation, ranked a top plaintiff firm by Chambers USA
    and The Legal 500, and honored with European Pensions’ Thought Leadership Award. In 2019,
    Jeremy Lieberman was named Plaintiff Attorney of the Year by Benchmark Litigation, and
    Pomerantz received Benchmark Litigation’s National Case Impact Award for In re Petrobras
    Securities Litig. In 2018, Pomerantz was a Law360 Securities Practice Group of the Year and a
    finalist for the National Law Journal’s Elite Trial Lawyers award; Jeremy Lieberman was named a
    Law360 Titan of the Plaintiffs’ Bar and a Benchmark Litigation Star. Among other accolades,
    many of our attorneys have been chosen by their peers, year after year, as Super Lawyers® Top-
    Rated Securities Litigation Attorneys and Rising Stars.

                      Pomerantz is headquartered in New York City, with offices in
                          Chicago, Los Angeles, London, Paris, and Tel Aviv.




    www.pomlaw.com                                                                                        1
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                                      Securities Litigation
                                         Significant Landmarks

 In re Petrobras Sec. Litig., No. 14-cv-9662 (S.D.N.Y. 2018)
 On January 3, 2018, in a significant victory for investors, Pomerantz, as sole Lead Counsel for the class,
 along with Lead Plaintiff Universities Superannuation Scheme Limited (“USS”), achieved a historic $2.95
 billion settlement with Petróleo Brasileiro S.A. (“Petrobras”) and its related entity, Petrobras
 International Finance Company, as well as certain of Petrobras’ former executives and directors. On
 February 2, 2018, Pomerantz and USS reached a $50 million settlement with Petrobras’ auditors,
 PricewaterhouseCoopers Auditores Independentes, bringing the total recovery for Petrobras investors
 to $3 billion.

 This is not only the largest securities class action settlement in a decade but is the largest settlement
 ever in a securities class action involving a foreign issuer, the fifth-largest securities class action
 settlement ever achieved in the United States, the largest securities class action settlement achieved by
 a foreign Lead Plaintiff, and the largest securities class action settlement in history not involving a
 restatement of financial reports.

 The class action, brought on behalf of all purchasers of common and preferred American Depositary
 Shares (“ADSs”) on the New York Stock Exchange, as well as purchasers of certain Petrobras debt,
 principally alleged that Petrobras and its senior executives engaged in a multi-year, multi-billion-dollar
 money-laundering and bribery scheme, which was concealed from investors.

 In addition to the multi-billion-dollar recovery for defrauded investors, Pomerantz secured precedent-
 setting decisions when the Second Circuit Court of Appeals squarely rejected defendants’ invitation to
 adopt the heightened ascertainability requirement promulgated by the Third Circuit, which would have
 required plaintiffs to demonstrate that determining membership in a class is “administratively feasible.”
 The Second Circuit’s rejection of this standard is not only a victory for bondholders in securities class
 actions, but also for plaintiffs in consumer fraud class actions and other class actions where
 documentation regarding Class membership is not readily attainable. The Second Circuit also refused to
 adopt a requirement, urged by defendants, that all securities class action plaintiffs seeking class
 certification prove through direct evidence (i.e., an event study) that the prices of the relevant securities
 moved in a particular direction in response to new information.

 Pirnik v. Fiat Chrysler Automobiles N.V. et al., No. 1:15-cv-07199-JMF (S.D.N.Y)
 In August 2019, Pomerantz, as Lead Counsel, achieved final approval of a $110 million settlement for the
 Class in this high-profile securities class action. Plaintiffs alleged that Fiat Chrysler concealed from
 investors that it improperly outfitted its diesel vehicles with “defeat device” software designed to cheat
 NOx emissions regulations in the U.S. and Europe, and that regulators had accused Fiat Chrysler of
 violating the emissions regulations. The Fiat Chrysler recovery provides the class of investors with as
 much as 20% of recoverable damages—an excellent result when compared to historical statistics in class
 action settlements, where typical recoveries for cases of this size are between 1.6% and 3.3%.




 www.pomerantzlaw.com                                                                                       2
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 In addition to creating precedent-setting case law in successfully defending the various motions to
 dismiss the Fiat Chrysler litigation, Pomerantz also significantly advanced investors’ ability to obtain
 critically important discovery from regulators that are often at the center of securities actions. During
 the litigation, Pomerantz sought the deposition of a former employee of the National Highway Traffic
 Safety Administration (“NHTSA”). The United States Department of Transportation (“USDOT”), like most
 federal agencies, has enacted a set of regulations — known as “Touhy regulations” — governing when
 its employees may be called by private parties to testify in court. On their face, USDOT’s regulations
 apply to both “current” and “former” employees. In response to Pomerantz’s request to depose a
 former employee of NHSTA that interacted with Fiat Chrysler, NHTSA denied the request, citing the
 Touhy regulation. Despite the widespread application, and assumed appropriateness, of applying these
 regulations to former employees throughout the case law, Pomerantz filed an action against USDOT and
 NHTSA, arguing that the statute pursuant to which the Touhy regulations were enacted speaks only of
 “employees,” which should be interpreted to apply only to current employees. The court granted
 summary judgment in favor of Pomerantz’s clients, holding that “USDOT’s Touhy regulations are
 unlawful to the extent that they apply to former employees.” This victory will greatly shift the discovery
 tools available, so that investor plaintiffs in securities class actions against highly regulated entities (for
 example, companies subject to FDA regulations) will now be able to depose former employees of the
 regulators that interacted with the defendants during the class period to get critical testimony
 concerning the company’s violations and misdeeds.

 Strougo v. Barclays PLC, No. 14-cv-5797 (S.D.N.Y.)
 Pomerantz, as sole Lead Counsel in this high-profile securities class action, achieved a $27 million
 settlement for defrauded investors in 2019. Plaintiffs alleged that defendants concealed information and
 misled investors regarding its management of its “LX” dark pool, a private trading platform where the
 size and price of the orders are not revealed to other participants. On November 6, 2017, the Second
 Circuit affirmed former District Court Judge Shira S. Scheindlin’s February 2, 2016, Opinion and Order
 granting plaintiffs’ motion for class certification in the case.

 The Court of Appeals in Barclays held that direct evidence of price impact is not always necessary to
 demonstrate market efficiency, as required to invoke the Basic presumption of reliance, and was not
 required here. Significantly, when handing down its decision, the Second Circuit cited its own Petrobras
 decision, stating, “We have repeatedly—and recently—declined to adopt a particular test for market
 efficiency.” Waggoner v. Barclays PLC, 875 F.3d 79, 94 (2d Cir. 2017).

 The court held that defendants seeking to rebut the Basic presumption of reliance on an efficient
 market must do so by a preponderance of the evidence. The court further held that it would be
 inconsistent with Halliburton II to “allow [ ] defendants to rebut the Basic presumption by simply
 producing some evidence of market inefficiency, but not demonstrating its inefficiency to the district
 court.” Id. at 100. The court rejected defendants’ contention that Federal Rule of Evidence 301 applies
 and made clear that the Basic presumption is a judicially created doctrine and thus the burden of
 persuasion properly shifts to defendants. The court thus confirmed that plaintiffs have no burden to
 show price impact at the class certification stage—a significant victory for investors.

 In re Yahoo! Inc. Sec. Litig., No. 17-cv-00373 (N.D. Cal.)
 On September 10, 2018, Pomerantz, as Co-Lead Counsel, achieved final approval of a historic $80 million
 settlement for the Class in this ground-breaking litigation. The complaint, filed in January 2017, alleged

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 that the internet giant intentionally misled investors about its cybersecurity practices in the wake of
 massive data breaches in 2013 and 2014 that compromised the personal information of all 3 billion
 Yahoo customers. Plaintiffs allege that Yahoo violated federal securities laws by failing to disclose the
 breaches, which caused a subsequent stock price dive. This represents the first significant settlement to
 date of a securities fraud class action filed in response to a data breach.

 As part of due diligence, Pomerantz located critical evidence showing that Yahoo’s management had
 concurrent knowledge of at least one of the data breaches. Importantly, these records showed that
 Yahoo’s Board of Directors, including Defendant CEO Marissa Mayer, had knowledge of and received
 repeated updates regarding the breach. In its public filings, Yahoo denied that the CEO knew about the
 breach, and the CEO’s knowledge was a key issue in the case.

 After receiving Plaintiffs’ opposition to the motion to dismiss, but before the federal District Court ruled
 on the motion, the case settled for $80 million. This early and large settlement reflects the strength of
 the complaint’s allegations.

 Kaplan v. S.A.C. Capital Advisors, L.P, No. 12-cv-9350 (S.D.N.Y.)

 In May 2017, Pomerantz, as Co-Lead Counsel, achieved final approval of a $135 million recovery for the
 Class in this securities class action that stemmed from what has been called the most profitable insider
 trading scheme in U.S. history. After years of vigorous litigation, billionaire Steven A. Cohen's former
 hedge fund, S.A.C. Capital Advisors LP, agreed to settle the lawsuit by investors in the drug maker Elan
 Corp, who said they lost money because of insider trading by one of his portfolio managers.

 In re BP p.l.c. Securities Litigation, MDL No. 2185 (S.D. Tex.)

 Beginning in 2012, Pomerantz pursued ground-breaking individual lawsuits for institutional investors to
 recover losses in BP p.l.c.’s London-traded common stock and NYSE-traded American Depository Shares
 (ADSs) arising from its 2010 Gulf of Mexico oil spill. Over nine years, Pomerantz briefed and argued
 every significant dispute on behalf of 125+ institutional plaintiffs, successfully opposed three motions to
 dismiss, won other contested motions, oversaw e-discovery of 1.75 million party and non-party
 documents, led the Individual Action Plaintiffs Steering Committee, served as sole Liaison with BP and
 the Court, and worked tirelessly with our clients’ outside investment management firms to develop
 crucial case evidence.

 A threshold challenge was how to litigate in U.S. court given the U.S. Supreme Court’s decision in
 Morrison v. National Australia Bank, 130 S. Ct. 2869 (2010), which barred recovery for losses in foreign-
 traded securities under the U.S. federal securities laws. In 2013 and 2014, Pomerantz won significant
 victories in defeating BP’s forum non conveniens arguments, which sought to force dismissal of the
 English common law claims from U.S. courts for refiling in English courts, first as regards U.S. institutions
 and, later, foreign institutions. Pomerantz also defeated BP’s attempt to extend the U.S. federal
 Securities Litigation Uniform Standards Act of 1998 to reach, and dismiss, these foreign law claims in
 deference to non-existent remedies under the U.S. federal securities laws. These rulings paved the way
 for 125+ global institutional investors to pursue their claims and marked the first time, post-Morrison,
 that U.S. and foreign investors, pursuing foreign claims seeking recovery for losses in a foreign
 company’s foreign-traded securities, did so in a U.S. court. In 2017, Pomerantz earned an important
 victory that expanded investor rights under English law, permitting certain BP investors to pursue a

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 “holder claim” theory seeking to recover losses in securities held, rather than purchased anew, in
 reliance on the alleged fraud - a theory barred under the U.S. federal securities laws since Blue Chip
 Stamps v. Manor Drug Stores, 421 U.S. 723 (1975). This win was significant, given the dearth of
 precedent from anywhere recognizing the viability of a “holder claim” under any non-U.S. law and
 holding that a given plaintiff alleged facts sufficiently evidencing reliance and documenting the resulting
 retention of an identifiable amount of shares on a date certain.

 In Q1 2021, Pomerantz secured confidential, favorable monetary settlements from BP for our nearly
 three dozen clients, including public and private pension funds, money management firms, partnerships,
 and investment trusts from the U.S., Canada, the U.K., France, the Netherlands, and Australia.

 In re Comverse Technology, Inc. Sec. Litig., No. 06-CV-1825 (E.D.N.Y.)

 In June 2010, Judge Nicholas G. Garaufis of the U.S. District Court for the Eastern District of New York
 granted final approval of a $225 million settlement proposed by Pomerantz and Lead Plaintiff the
 Menora Group, with Comverse Technology and certain of Comverse’s former officers and directors,
 after four years of highly contested litigation. The Comverse settlement is one of the largest securities
 class action settlements reached since the passage of the Private Securities Litigation Reform Act
 (“PSLRA”).1 It is the second-largest recovery in a securities litigation involving the backdating of options,
 as well as one of the largest recoveries – $60 million – from an individual officer-defendant, Comverse’s
 founder and former CEO, Kobi Alexander.

 Other significant settlements

 Even before the enactment of the PSLRA, Pomerantz represented state agencies in securities class
 actions, including the Treasurer of the Commonwealth of Pennsylvania (recovered $100 million) against
 a major investment bank. In re Salomon Brothers Treasury Litig., No. 91-cv-5471 (S.D.N.Y.).

 Pomerantz recovered $50 million for the Treasurer of the State of New Jersey and several New Jersey
 pension funds in an individual action. This was a substantially higher recovery than what our clients
 would have obtained had they remained in a related federal class action. Treasurer of State of New
 Jersey v. AOL Time Warner, Inc. (N.J. Super. Ct. Law Div., Mercer Cty.).

 Pomerantz has litigated numerous cases for the Louisiana School Employees’ Retirement System. For
 example, as Lead Counsel, Pomerantz recovered $74.75 million in a securities fraud class action against
 Citigroup, its CEO Sanford Weill, and its now infamous telecommunications analyst Jack Grubman. In re
 Salomon Analyst AT&T Litig., No. 02-cv-6801 (S.D.N.Y.) Also, the Firm played a major role in a complex
 antitrust and securities class action which settled for over $1 billion. In re NASDAQ Market-Makers
 Antitrust Litig., MDL No. 1023 (S.D.N.Y.). Pomerantz was a member of the Executive Committee in In re
 Transkaryotic Therapies, Inc. Securities Litigation, C.A. No. 03-10165 (D. Mass.), helping to win a $50
 million settlement for the class.

 In 2008, together with Co-Counsel, Pomerantz identified a substantial opportunity for recovery of losses
 in Countrywide mortgage-backed securities ("MBS") for three large New Mexico funds (New Mexico
 State Investment Council, New Mexico Public Employees' Retirement Association, and New Mexico

 1 Institutional Shareholder Services, SCAS Top 100 Settlements Quarterly Report (Sept. 30, 2010).



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 Educational Retirement Board), which had been overlooked by all of the firms then in their securities
 litigation pool. We then filed the first non-class lawsuit by a public institution with respect to
 Countrywide MBS. See N.M. State Inv. Council v. Countrywide Fin. Corp., No. D-0101-CV-2008-02289
 (N.M. 1st Dist. Ct.). In Fall 2010, we negotiated for our clients an extremely favorable but confidential
 settlement.

 Over its long history, Pomerantz has achieved significant settlements in numerous cases, a sampling of
 which is listed below:

 •   In re Petrobras Sec. Litig., No. 14-cv-9662 (S.D.N.Y. 2018)
     $3 billion settlement of securities class action in which Pomerantz was Lead Counsel.
 •   Pirnik v. Fiat Chrysler Automobiles N.V. et al., No. 1:15-cv-07199-JMF (S.D.N.Y)
     $110 million settlement of securities class action in which Pomerantz was Lead Counsel
 •   In re Yahoo! Inc. Sec. Litig., No. 17-cv-00373 (N.D. Cal. 2018)
     $80 million settlement of securities class action in which Pomerantz was Co-Lead Counsel
 •   In re Libor Based Financial Instruments Antitrust Litig., 1:11-md-2262
     $31 million partial settlement with three defendants in this multi-district litigation in which
     Pomerantz represents the Berkshire Bank and the Government Development Bank for Puerto Rico
 •   Kaplan v. S.A.C. Capital Advisors, L.P., No. 12-cv-9350 (S.D.N.Y. 2017)
     $135 million settlement of class action in which Pomerantz was Co-Lead Counsel.
 •   In re Groupon, Inc. Sec. Litig., No. 12-cv-02450 (N.D. Ill. 2015)
     $45 million settlement of class action in which Pomerantz was sole Lead Counsel.
 •   In re Elan Corp. Sec. Litig., No. 05-cv-2860 (S.D.N.Y. 2005)
     $75 million settlement in class action arising out of alleged accounting manipulations.
 •   In re Safety-Kleen Corp. Stockholders Litig., No. 00-cv-736-17 (D.S.C. 2004)
     $54.5 million in total settlements in class action alleging accounting manipulations by corporate
     officials and auditors; last settlement reached on eve of trial.
 •   Duckworth v. Country Life Ins. Co., No. 1998-CH-01046 (Ill. Cir. Ct., Cook Cty. 2000)
     $45 million recovery.
 •   Snyder v. Nationwide Ins. Co., No. 97/0633 (N.Y. Sup. Ct. Onondaga Cty. 1998)
     Settlement valued at $100 million in derivative case arising from injuries to consumers purchasing
     life insurance policies.
 •   In re National Health Lab., Inc. Sec. Litig., No. CV 92-1949 (S.D. Cal. 1995)
     $64 million recovery.
 •   In re First Executive Corp. Sec. Litig., No. 89-cv-07135 (C.D. Cal. 1994)
     $102 million recovery for the class, exposing a massive securities fraud arising out of the Michael
     Milken debacle.
 •   In re Boardwalk Marketplace Sec. Litig., MDL No. 712 (D. Conn. 1994)
     Over $66 million benefit in securities fraud action.
 •   In re Telerate, Inc. S’holders Litig., C.A. No. 1115 (Del. Ch. 1989)
     $95 million benefit in case alleging violation of fiduciary duty under state law.

 Pomerantz has also obtained stellar results for private institutions and Taft-Hartley funds. Below are a
 few examples:




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 •   In re Charter Commc’ns, Inc. Sec. Litig., No. 02-cv-1186 (E.D. Mo. 2005) (sole Lead Counsel for Lead
     Plaintiff StoneRidge Investment Partners LLC); $146.25 million class settlement, where Charter also
     agreed to enact substantive improvements in corporate governance.
 •   In re Am. Italian Pasta Sec. Litig., No. 05-cv-865 (W.D. Mo. 2008) (sole Lead Counsel for Lead Plaintiff
     Ironworkers Locals 40, 361 and 417; $28.5 million aggregate settlements).
 •   Richardson v. Gray, No. 116880/1995 (N.Y. Sup. Ct. N.Y. Cty. 1999); and In re Summit Metals, No. 98-
     2870 (Bankr. D. Del. 2004) (two derivative actions where the Firm represented C.C. Partners Ltd. and
     obtained judgment of contempt against controlling shareholder for having made “extraordinary”
     payments to himself in violation of a preliminary injunction; persuaded the court to jail him for two
     years upon his refusal to pay; and, in a related action, won a $43 million judgment after trial and
     obtained turnover of stock of two companies).

                                            Shaping the Law

 Not only has Pomerantz established a long track record of obtaining substantial monetary recoveries for
 our clients; whenever appropriate, we also pursue corporate governance reforms on their behalf. In In
 re Chesapeake Shareholders Derivative Litigation, No. CJ-2009-3983 (Okla. Dist. Ct., Okla. Cty. 2011), for
 example, the Firm served as Co-Lead Counsel, representing a public pension client in a derivative case
 arising from an excessive compensation package granted to Chesapeake’s CEO and founder. This was a
 derivative action, not a class action. Yet it is illustrative of the results that can be obtained by an
 institutional investor in the corporate governance arena. There we obtained a settlement which called
 for the repayment of $12.1 million and other consideration by the CEO. The Wall Street Journal (Nov. 3,
 2011) characterized the settlement as “a rare concession for the 52-year-old executive, who has run the
 company largely by his own rules since he co-founded it in 1989.” The settlement also included
 comprehensive corporate governance reforms.

 The Firm has won many landmark decisions that have enhanced shareholders’ rights and improved
 corporate governance. These include decisions that established that:

 •   defendants seeking to rebut the Basic presumption of reliance on an efficient market must do so by
     a preponderance of the evidence. Waggoner v. Barclays PLC, 875 F.3d 79 (2d Cir. 2017) (Strougo v.
     Barclays PLC, in the court below);
 •   plaintiffs have no burden to show price impact at the class certification stage. Waggoner v. Barclays
     PLC, 875 F.3d 79 (2d Cir. 2017) (Strougo v. Barclays PLC, in the court below);
 •   the ascertainability doctrine requires only that a class be defined using objective criteria that
     establish a membership with definite boundaries. Universities Superannuation Scheme Ltd. v.
     Petróleo Brasileiro S.A. Petrobras, 862 F.3d 250 (2d Cir. 2017);
 •   companies cannot adopt bylaws to regulate the rights of former stockholders. Strougo v. Hollander,
     C.A. No. 9770-CB (Del. Ch. 2015);
 •   a temporary rise in share price above its purchase price in the aftermath of a corrective disclosure
     does not eviscerate an investor’s claim for damages. Acticon AG v. China Ne. Petroleum Holdings
     Ltd., 692 F.3d 34 (2d Cir. 2012);
 •   an MBS holder may bring claims if the MBS price declines even if all payments of principal and
     interest have been made. Transcript of Proceedings, N.M. State Inv. Council v. Countrywide Fin.
     Corp., No. D-0101-CV-2008-02289 (N.M. 1st Dist. Ct. Mar. 25, 2009);



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 •   when a court selects a Lead Plaintiff under the Private Securities Litigation Reform Act (“PSLRA”), the
     standard for calculating the “largest financial interest” must take into account sales as well as
     purchases. In re Comverse Tech., Inc. Sec. Litig., No. 06-cv-1825, 2007 U.S. Dist. LEXIS 14878 (E.D.N.Y.
     Mar. 2, 2007);
 •   a managing underwriter can owe fiduciary duties of loyalty and care to an issuer in connection with
     a public offering of the issuer stock, even in the absence of any contractual agreement. Professor
     John C. Coffee, a renowned Columbia University securities law professor, commenting on the ruling,
     stated: “It’s going to change the practice of all underwriting.” EBC I, Inc. v. Goldman Sachs & Co., 5
     N.Y. 3d 11 (2005);
 •   purchasers of options have standing to sue under federal securities laws. In re Green Tree Fin. Corp.
     Options Litig., No. 97-2679, 2002 U.S. Dist. LEXIS 13986 (D. Minn. July 29, 2002);
 •   shareholders have a right to a jury trial in derivative actions. Ross v. Bernhard, 396 U.S. 531 (1970);
 •   a company may have the obligation to disclose to shareholders its Board’s consideration of
     important corporate transactions, such as the possibility of a spin-off, even before any final decision
     has been made. Kronfeld v. Trans World Airlines, Inc., 832 F.2d 726 (2d Cir. 1987);
 •   specific standards for assessing whether mutual fund advisors breach fiduciary duties by charging
     excessive fees. Gartenberg v. Merrill Lynch Asset Mgmt., Inc., 740 F.2d 190 (2d Cir. 1984);
 •   investment advisors to mutual funds are fiduciaries who cannot sell their trustee positions for a
     profit. Rosenfeld v. Black, 445 F.2d 1337 (2d Cir. 1971); and
 •   management directors of mutual funds have a duty to make full disclosure to outside directors “in
     every area where there was even a possible conflict of interest.” Moses v. Burgin, 445 F.2d 369 (1st
     Cir. 1971).

                                     Comments from the Courts

 Throughout its history, courts time and again have acknowledged the Firm’s ability to vigorously pursue
 and successfully litigate actions on behalf of investors.

 U.S. District Judge Noel L. Hillman, in approving the In re Toronto-Dominion Bank Securities Litigation
 settlement in October 2019, stated:

          I commend counsel on both sides for their hard work, their very comprehensive and
          thoughtful submissions during the motion practice aspect of this case. … It’s clear to
          me that this was comprehensive, extensive, thoughtful, meaningful litigation leading
          up to the settlement. … This settlement appears to have been obtained through the
          hard work of the Pomerantz firm. … It was through their efforts and not piggybacking
          on any other work that resulted in this settlement.

 In approving the settlement in Strougo v. Barclays PLC in June 2019, Judge Victor Marrero of the
 Southern District of New York wrote:

         Let me thank counsel on both sides for the extraordinary work both sides did in bringing
         this matter to a reasonable conclusion. As the parties have indicated, the matter was
         intensely litigated, but it was done in the most extraordinary fashion with cooperation,
         collaboration, and high levels of professionalism on both sides, so I thank you.



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 In approving the $3 billion settlement in In re Petrobras Securities Litigation in June 2018, Judge Jed S.
 Rakoff of the Southern District of New York wrote:

         [T]he Court finds that Class Counsel's performance was in many respects exceptional,
         with the result that, as noted, the class is poised to enjoy a substantially larger per share
         recovery [65%] than the recovery enjoyed by numerous large and sophisticated
         plaintiffs who separately settled their claims.

 At the hearing for preliminary approval of the settlement in In re Petrobras Securities Litigation in
 February 2018, Judge Rakoff stated:

         [T]he lawyers in this case [are] some of the best lawyers in the United States, if not in
         the world.

 Two years earlier, in certifying two Classes in In re Petrobras Securities Litigation in February 2016, Judge
 Rakoff wrote:

         [O]n the basis not only of USS’s counsel’s prior experience but also the Court’s
         observation of its advocacy over the many months since it was appointed Lead Counsel,
         the Court concludes that Pomerantz, the proposed class counsel, is “qualified,
         experienced and able to conduct the litigation.” ... [T]he Pomerantz firm has both the
         skill and resources to represent the Classes adequately.

 In approving the settlement in Thorpe v. Walter Investment Management Corp., No. 14-cv-20880, 2016
 U.S. Dist. LEXIS 144133 (S.D. Fla. Oct. 14, 2016) Judge Ursula Ungaro wrote:

         Class Counsel has developed a reputation for zealous advocacy in securities class
         actions. ... The settlement amount of $24 million is an outstanding result.

 At the May 2015 hearing wherein the court approved the settlement in Courtney v. Avid Technology,
 Inc., No. 13-cv-10686 (D. Mass. May 12, 2015), following oral argument by Jeremy A. Lieberman, Judge
 William G. Young stated:

         This has been very well litigated. It is always a privilege. I don't just say that as a matter
         of form. And I thank you for the vigorous litigation that I've been permitted to be a part
         of. [Tr. at 8-9.]

 At the January 2012 hearing wherein the court approved the settlement in In re Chesapeake Energy
 Corp. Shareholder Derivative Litigation, No. CJ-2009-3983 (Okla. Dist. Ct., Okla. Cty. Jan. 30, 2012),
 following oral argument by Marc I. Gross, Judge Daniel L. Owens stated:

         Counsel, it’s a pleasure, and I mean this and rarely say it. I think I’ve said it two times in
         25 years. It is an extreme pleasure to deal with counsel of such caliber.
         [Tr. at 48.])

 In approving the $225 million settlement in In re Comverse Technology, Inc. Securities Litigation, No. 06-
 CV-1825 (E.D.N.Y.) in June 2010, Judge Nicholas G. Garaufis stated:

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         As outlined above, the recovery in this case is one of the highest ever achieved in this
         type of securities action. ... The court also notes that, throughout this litigation, it has
         been impressed by Lead Counsel’s acumen and diligence. The briefing has been
         thorough, clear, and convincing, and ... Lead Counsel has not taken short cuts or relaxed
         its efforts at any stage of the litigation.

 In approving a $146.25 million settlement in In re Charter Communications Securities Litigation, No. 02-
 CV-1186, 2005 U.S. Dist. LEXIS 14772 (E.D. Mo. June 30, 2005), in which Pomerantz served as sole Lead
 Counsel, Judge Charles A. Shaw praised the Firm’s efforts, citing “the vigor with which Lead Counsel ...
 investigated claims, briefed the motions to dismiss, and negotiated the settlement.” He further stated:

         This Court believes Lead Plaintiff achieved an excellent result in a complex action, where
         the risk of obtaining a significantly smaller recovery, if any, was substantial.

 In approving a $24 million settlement in In re Force Protection, Inc., No. 08 CV 845 (D.S.C. 2011), Judge C.
 Weston Houk described the Firm as “attorneys of great ability and great reputation” and commended
 the Firm for having “done an excellent job.”

 In certifying a class in a securities fraud action against analysts in DeMarco v. Robertson Stephens Inc.,
 228 F.R.D. 468 (S.D.N.Y. 2005), Judge Gerard D. Lynch stated that Pomerantz had “ably and zealously
 represented the interests of the class.”

 Numerous courts have made similar comments:

     •   Appointing Pomerantz Lead Counsel in American Italian Pasta Co. Securities Litigation, No 05-
         CV-0725 (W.D. Mo.), a class action that involved a massive fraud and restatements spanning
         several years, the District Court observed that the Firm “has significant experience (and has
         been extremely effective) litigating securities class actions, employs highly qualified attorneys,
         and possesses ample resources to effectively manage the class litigation and protect the class’s
         interests.”
     •   In approving the settlement in In re Wiring Devices Antitrust Litigation, MDL No. 331 (E.D.N.Y.
         Sept. 9, 1980), Chief Judge Jack B. Weinstein stated that “Counsel for the plaintiffs I think did an
         excellent job. ... They are outstanding and skillful. The litigation was and is extremely complex.
         They assumed a great deal of responsibility. They recovered a very large amount given the
         possibility of no recovery here which was in my opinion substantial.”
     •   In Snyder v. Nationwide Insurance Co., No. 97/0633, (N.Y. Supreme Court, Onondaga Cty.), a
         case where Pomerantz served as Co-Lead Counsel, Judge Tormey stated, “It was a pleasure to
         work with you. This is a good result. You’ve got some great attorneys working on it.”
     •   In Steinberg v. Nationwide Mutual Insurance Co. (E.D.N.Y. 2004), Judge Spatt, granting class
         certification and appointing the Firm as class counsel, observed: “The Pomerantz firm has a
         strong reputation as class counsel and has demonstrated its competence to serve as class
         counsel in this motion for class certification.” (224 F.R.D. 67, 766.)
     •   In Mercury Savings & Loan, No. 90-cv-00087 LHM (C.D. Cal. 1993), Judge McLaughlin
         commended the Firm for the “absolutely extraordinary job in this litigation.”

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     •   In Boardwalk Marketplace Securities Litigation, MDL No. 712 (D. Conn.), Judge Eginton described
         the Firm’s services as “exemplary,” praised it for its “usual fine job of lawyering ...[in] an
         extremely complex matter,” and concluded that the case was “very well-handled and managed.”
         (Tr. at 6, 5/20/92; Tr. at 10, 10/10/92.)
     •   In Nodar v. Weksel, No. 84 Civ. 3870 (S.D.N.Y.), Judge Broderick acknowledged “that the services
         rendered [by Pomerantz] were excellent services from the point of view of the class
         represented, [and] the result was an excellent result.” (Tr. at 21-22, 12/27/90.)
     •   In Klein v. A.G. Becker Paribas, Inc., No. 83 Civ. 6456 (S.D.N.Y.), Judge Goettel complimented the
         Firm for providing “excellent ...absolutely top-drawer representation for the class, particularly in
         light of the vigorous defense offered by the defense firm.” (Tr. at 22, 3/6/87.)
     •   In Digital Securities Litigation, No. 83-3255 (D. Mass.), Judge Young lauded the Firm for its
         “[v]ery fine lawyering.” (Tr. at 13, 9/18/86.)
     •   In Shelter Realty Corp. v. Allied Maintenance Corp., 75 F.R.D. 34, 40 (S.D.N.Y. 1977), Judge
         Frankel, referring to Pomerantz, said: “Their experience in handling class actions of this nature is
         known to the court and certainly puts to rest any doubt that the absent class members will
         receive the quality of representation to which they are entitled.”
     •   In Rauch v. Bilzerian, No. 88 Civ. 15624 (N.J. Sup. Ct.), the court, after trial, referred to
         Pomerantz partners as “exceptionally competent counsel,” and as having provided “top drawer,
         topflight [representation], certainly as good as I’ve seen in my stay on this court.”


                          Corporate Governance Litigation
 Pomerantz is committed to ensuring that companies adhere to responsible business practices and
 practice good corporate citizenship. We strongly support policies and procedures designed to give
 shareholders the ability to oversee the activities of a corporation. We vigorously pursue corporate
 governance reform, particularly in the area of excess compensation, where it can address the growing
 disparity between the salaries of executives and the workers of major corporations. We have
 successfully utilized litigation to bring about corporate governance reform in numerous cases, and
 always consider whether such reforms are appropriate before any case is settled.

 Pomerantz’s Corporate Governance Practice Group, led by Partner Gustavo F. Bruckner, enforces
 shareholder rights and prosecutes actions challenging corporate transactions that arise from an unfair
 process or result in an unfair price for shareholders.

 In September 2017, New Jersey Superior Court Judge Julio Mendez, of Cape May County Chancery
 Division, approved Pomerantz’s settlement in a litigation against Ocean Shore Holding Co. The
 settlement provided non-pecuniary benefits for a non-opt out class. In so doing, Judge Mendez became
 the first New Jersey state court judge to formally adopt the Third Circuit’s nine-part Girsh factors, Girsh
 v. Jepson, 521 F.2d 153 (3d Cir. 1975). There has never before been a published New Jersey state court
 opinion setting out the factors a court must consider in evaluating whether a class action settlement
 should be determined to be fair and adequate. After conducting an analysis of each of the nine Girsh
 factors and holding that “class actions settlements involving non-monetary benefits to the class are
 subject to more exacting scrutiny,” Judge Mendez held that the proposed settlement provided a
 material benefit to the shareholders.

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 In February 2018, the Maryland Circuit Court, Montgomery County, approved a $17.5 million settlement
 that plaintiffs achieved as additional consideration on behalf of a class of shareholders of American
 Capital, Ltd. In re Am. Capital, Ltd. S’holder Litig., C.A. No. 422598-V (2018). The settlement resolved
 Plaintiffs’ claims regarding a forced sale of American Capital.

 Pomerantz filed an action challenging the sale of American Capital, a Delaware corporation with its
 headquarters in Maryland. Among other things, American Capital’s board of directors (the “Board”)
 agreed to sell the company at a price below what two other bidders were willing to offer. Worse, the
 merger price was even below the amount that shareholders would have received in the company’s
 planned phased liquidation, which the company was considering under pressure from Elliott
 Management, an activist hedge fund and holder of approximate 15% of American Capital stock. Elliott
 was not originally named as a defendant, but after initial discovery showed the extent of its involvement
 in the Board’s breaches of fiduciary duty, Elliott was added as a defendant in an amended complaint
 under the theory that Elliott exercised actual control over the Board’s decision-making. Elliott moved to
 dismiss on jurisdictional grounds and additionally challenged its alleged status as a controller of
 American Capital. In June 2017, minutes before the hearing on defendants’ motion to dismiss, a partial
 settlement was entered into with the members of the Board for $11.5 million. The motion to dismiss
 hearing proceeded despite the partial settlement, but only as to Elliott. In July 2017, the court denied
 the motion to dismiss, finding that Elliott, “by virtue solely of its own conduct, … has easily satisfied the
 transacting business prong of the Maryland long arm statute.” The court also found that the “amended
 complaint in this case sufficiently pleads that Elliott was a controller with respect to” the sale, thus
 implicating a higher standard of review. Elliott subsequently settled the remaining claims for an
 additional $6 million. Pomerantz served as Co-Lead Counsel.

 In May 2017, the Circuit Court of the State of Oregon approved the settlement achieved by Pomerantz
 and co-counsel of a derivative action brought by two shareholders of Lithia Motors, Inc. The lawsuit
 alleged breach of fiduciary duties by the board of directors in approving, without any meaningful review,
 the Transition Agreement between Lithia Motors and Sidney DeBoer, its founder, controlling
 shareholder, CEO, and Chairman, who was stepping down as CEO. DeBoer and his son, the current CEO,
 Bryan DeBoer, negotiated virtually all the material terms of the Agreement, by which the company
 agreed to pay the senior DeBoer $1,060,000 and a $42,000 car allowance annually for the rest of his life,
 plus other benefits, in addition to the $200,000 per year that he would receive for continuing to serve as
 Chairman.

 The Lithia settlement extracted corporate governance therapeutics that provide substantial benefits to
 Lithia and its shareholders and redress the wrongdoing alleged by plaintiffs. The board will now be
 required to have at least five independent directors -- as defined under the New York Stock Exchange
 rules -- by 2020; a number of other new protocols will be in place to prevent self-dealing by board
 members. Further, the settlement calls for the Transition Agreement to be reviewed by an independent
 auditor who will determine whether the annual payments of $1,060,000 for life to Sidney DeBoer are
 reasonable. Lithia has agreed to accept whatever decision the auditor makes.

 In January 2017, the Group received approval of the Delaware Chancery Court for a $5.6 million
 settlement it achieved on behalf of a class of shareholders of Physicians Formula Holdings Inc. over an
 ignored merger offer in 2012. In re Physicians Formula Holdings Inc., C.A. No. 7794-VCL (Del. Ch.).


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 The Group obtained a landmark ruling in Strougo v. Hollander, C.A. No. 9770-CB (Del. Ch.), that fee-
 shifting bylaws adopted after a challenged transaction do not apply to shareholders affected by the
 transaction. They were also able to obtain a 25% price increase for members of the class cashed out in
 the going private transaction.

 In Miller v. Bolduc, No. SUCV 2015-00807 (Mass. Super. Ct.), the Group caused Implant Sciences to hold
 its first shareholder annual meeting in five years and put an important compensation grant up for a
 shareholder vote.

 In Smollar v. Potarazu, C.A. No. 10287-VCN (Del. Ch.), the Group pursued a derivative action to bring
 about the appointment of two independent members to the board of directors, retention of an
 independent auditor, dissemination of financials to shareholders and the holding of first ever in-person
 annual meeting, among other corporate therapeutics.

 In Hallandale Beach Police Officers & Firefighters' Personnel Retirement Fund vs. Lululemon athletica,
 Inc., C.A. No. 8522-VCP (Del. Ch.), in an issue of first impression in Delaware, the Chancery Court ordered
 the production of the chairman’s 10b5-1 stock trading plan. The court found that a stock trading plan
 established by the company's chairman, pursuant to which a broker, rather than the chairman himself,
 would liquidate a portion of the chairman's stock in the company, did not preclude potential liability for
 insider trading.

 In Strougo v. North State Bancorp, No. 15 CVS 14696 (N.C. Super. Ct.), the Group caused the Merger
 Agreement to be amended to provide a “majority of the minority” provision for the holders of North
 State Bancorp’s common stock in connection with the shareholder vote on the merger. As a result of the
 Action, common shareholders could stop the merger if they did not wish it to go forward.

 Pomerantz’s commitment to advancing sound corporate governance principles is further demonstrated
 by the more than 26 years that we have co-sponsored the Abraham L. Pomerantz Lecture Series with
 Brooklyn Law School. These lectures focus on critical and emerging issues concerning shareholder rights
 and corporate governance and bring together top academics and litigators.

 Our bi-monthly newsletter, The Pomerantz Monitor, provides institutional investors updates and insights
 on current issues in corporate governance.


                             Strategic Consumer Litigation

 Pomerantz’s Strategic Consumer Litigation practice group, led by Partner Jordan Lurie, represents
 consumers in actions that seek to recover monetary and injunctive relief on behalf of class members
 while also advocating for important consumer rights. The attorneys in this group have successfully
 prosecuted claims involving California’s Unfair Competition Law, California’s Consumers Legal Remedies
 Act, the Song Beverly Consumer Warranty Act and the Song Beverly Credit Card Act. They have resolved
 data breach privacy cases and cases involving unlawful recording, illegal background checks, unfair
 business practices, misleading advertising, and other consumer finance related actions. All of these
 actions also have resulted in significant changes to defendants’ business practices.



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 Pomerantz currently represents consumers in a nationwide class action against Facebook for
 mistargeting ads. Plaintiff alleges that Facebook programmatically displays a material percentage of ads
 to users outside the defined target market and displays ads to “serial Likers” outside the defined target
 audience in order to boost Facebook’s revenue. IntegrityMessageBoards.com v. Facebook, Inc. (N.D.
 Cal.) Case No. 4:18 -cv-05286 PJH.

 Pomerantz has pioneered litigation to establish claims for public injunctive relief under California’s
 unfair business practices statute. For example, Pomerantz has filed cases seeking to prevent major auto
 manufacturers from unauthorized access to, and use of, drivers’ vehicle data without compensation,
 and seeking to require the auto companies to share diagnostic data extracted from drivers’ vehicles. The
 Strategic Consumer Litigation practice group also is prosecuting class cases against auto manufacturers
 for failing to properly identify high-priced parts that must be covered in California under extended
 emissions warranties.

 Other consumer matters handled by Pomerantz’s Strategic Consumer Litigation practice group include
 actions involving cryptocurrency, medical billing, price fixing, and false advertising of various consumer
 products and services.


                                      Antitrust Litigation
 Pomerantz has earned a reputation for prosecuting complex antitrust and consumer class actions with
 vigor, innovation, and success. Pomerantz’s Antitrust and Consumer Group has recovered billions of
 dollars for the Firm’s business and individual clients and the classes that they represent. Time and again,
 Pomerantz has protected our free-market system from anticompetitive conduct such as price fixing,
 monopolization, exclusive territorial division, pernicious pharmaceutical conduct, and false advertising.
 Pomerantz’s advocacy has spanned across diverse product markets, exhibiting the Antitrust and
 Consumer Group’s versatility to prosecute class actions on any terrain.

 Pomerantz has served and is currently serving in leadership or Co-Leadership roles in several high-profile
 multi-district litigation class actions. In December 2018, the Firm achieved a $31 billion partial
 settlement with three defendants on behalf of a class of U.S. lending institutions that originated,
 purchased or held loans paying interest rates tied to the U.S. Dollar London Interbank Offered Rate (USD
 LIBOR). It is alleged that the class suffered damages as a result of collusive manipulation by the LIBOR
 contributor panel banks that artificially suppressed the USD LIBOR rate during the class period, causing
 the class members to receive lower interest payments than they would have otherwise received. In re
 Libor Based Financial Instruments Antitrust Litig., 1:11-md-2262.

 Pomerantz represented baseball and hockey fans in a game-changing antitrust class action against
 Major League Baseball and the National Hockey League, challenging the exclusive territorial division of
 live television broadcasts, internet streaming, and the resulting geographic blackouts. See Laumann v.
 NHL and Garber v. MLB (S.D.N.Y. 2012).

 Pomerantz has spearheaded the effort to challenge harmful anticompetitive conduct by pharmaceutical
 companies—including Pay-for-Delay Agreements—that artificially inflates the price of prescription drugs
 by keeping generic versions off the market.



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 Even prior to the 2013 precedential U.S. Supreme Court decision in Actavis, Pomerantz litigated and
 successfully settled the following generic-drug-delay cases:

         •       In re Flonase Antitrust Litig. (E.D. Pa. 2008) ($35 million);
         •       In re Toprol XL Antitrust Litig. (D. Del. 2006) ($11 million); and
         •       In re Wellbutrin SR Antitrust Litig. (E.D. Pa. 2004) ($21.5 million).

 Other exemplary victories include Pomerantz’s prominent role in In re NASDAQ Market-Makers Antitrust
 Litigation (S.D.N.Y.), which resulted in a settlement in excess of $1 billion for class members, one of the
 largest antitrust settlements in history. Pomerantz also played prominent roles in In re Sorbates Direct
 Purchaser Antitrust Litigation (N.D. Cal.), which resulted in over an $82 million recovery, and in In re
 Methionine Antitrust Litigation (N.D. Cal.), which resulted in a $107 million recovery. These cases
 illustrate the resources, expertise, and commitment that Pomerantz’s Antitrust Group devotes to
 prosecuting some of the most egregious anticompetitive conduct.


                    A Global Advocate for Asset Managers
                  and Public and Taft-Hartley Pension Funds
 Pomerantz represents some of the largest pension funds, asset managers, and institutional investors
 around the globe, monitoring assets of $8 trillion, and growing. Utilizing cutting-edge legal strategies
 and the latest proprietary techniques, Pomerantz protects, expands, and vindicates shareholder rights
 through our securities litigation services and portfolio monitoring program.

 Pomerantz partners routinely advise foreign and domestic institutional investors on how best to
 evaluate losses to their investment portfolios attributable to financial misconduct and how best to
 maximize their potential recoveries worldwide. In particular, Pomerantz Partners, Jeremy Lieberman,
 Jennifer Pafiti, and Marc Gross regularly travel throughout the U.S. and across the globe to meet with
 clients on these issues and are frequent speakers at investor conferences and educational forums in
 North America, Europe, and the Middle East.

 Pomerantz was honored by European Pensions with its 2020 Thought Leadership award in
 recognition of significant contributions the Firm has made in the European pension environment.

                             Institutional Investor Services
 Pomerantz offers a variety of services to institutional investors. Through the Firm’s proprietary system,
 PomTrack, Pomerantz monitors client portfolios to identify and evaluate potential and pending
 securities fraud, ERISA and derivative claims, and class action settlements. Monthly customized
 PomTrack reports are included with the service. PomTrack currently monitors assets of over $8 trillion
 for some of the most influential institutional investors worldwide.

 When a potential securities claim impacting a client is identified, Pomerantz offers to analyze the case’s
 merits and provide a written analysis and recommendation. If litigation is warranted, a team of
 Pomerantz attorneys will provide efficient and effective legal representation. The experience and


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 expertise of our attorneys – which have consistently been acknowledged by the courts – allow
 Pomerantz to vigorously pursue the claims of investors, taking complex cases to trial when warranted.

 Pomerantz is committed to ensuring that companies adhere to responsible business practices and
 practice good corporate citizenship. The Firm strongly support policies and procedures designed to give
 shareholders the ability to oversee the activities of a corporation. Pomerantz has successfully utilized
 litigation to bring about corporate governance reform, and always considers whether such reforms are
 appropriate before any case is settled.

 Pomerantz provides clients with insightful and timely commentary on matters essential to effective fund
 management in our bi-monthly newsletter, The Pomerantz Monitor and regularly sponsors conferences
 and roundtable events around the globe with speakers who are experts in securities litigation and
 corporate governance matters.


                                               Attorneys
                                                  Partners

 Jeremy A. Lieberman

 Jeremy A. Lieberman is Pomerantz’s Managing Partner. He became associated with the Firm in August
 2004 and was elevated to Partner in January 2010. The Legal 500, in honoring Jeremy as a Leading
 Lawyer and Pomerantz as a 2021 Tier 1 Plaintiffs Securities Law Firm, stated that “Jeremy Lieberman is
 super impressive – a formidable adversary for any defense firm.” Among the client testimonials posted
 on The Legal 500’s website: “Jeremy Lieberman led the case for us with remarkable and unrelenting
 energy and aggression. He made a number of excellent strategic decisions which boosted our recovery.”
 Lawdragon named Jeremy among the 2021 Leading 500 Lawyers in the United States. Super Lawyers®
 named him among the Top 100 Lawyers in the New York Metro area in 2021. In 2020, Jeremy won a
 Distinguished Leader award from the New York Law Journal. He was honored as Benchmark Litigation’s
 2019 Plaintiff Attorney of the Year. In 2018, Jeremy was honored as a Titan of the Plaintiffs Bar by
 Law360 and as a Benchmark Litigation Star. The Pomerantz team that Jeremy leads was named a 2018
 Securities Practice Group of the Year.

 Jeremy led the securities class action litigation In re Petrobras Securities Litigation, which arose from a
 multi-billion-dollar kickback and bribery scheme involving Brazil’s largest oil company, Petróleo
 Brasileiro S.A. – Petrobras, in which Pomerantz was sole Lead Counsel. The biggest instance of
 corruption in the history of Brazil ensnared not only Petrobras' former executives but also Brazilian
 politicians, including former president Lula da Silva and one-third of the Brazilian Congress. In January
 and February 2018, Jeremy achieved a historic $3 billion settlement for the Class. This is not only the
 largest securities class action settlement in a decade but is the largest settlement ever in a securities
 class action involving a foreign issuer, the fifth-largest securities class action settlement ever achieved in
 the United States, the largest securities class action settlement achieved by a foreign Lead Plaintiff, and
 the largest securities class action settlement in history not involving a restatement of financial reports.




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 Jeremy also secured a significant victory for Petrobras investors at the Second Circuit Court of Appeals,
 when the court rejected the heightened ascertainability requirement for obtaining class certification
 that had been imposed by the Third Circuit Courts of Appeals. The ruling will have a positive impact on
 plaintiffs in securities fraud litigation. Indeed, the Petrobras litigation was honored in 2019 as a National
 Impact Case by Benchmark Litigation.

 Jeremy was Lead Counsel in Pirnik v. Fiat Chrysler Automobiles N.V. et al., No. 1:15-cv-07199-JMF
 (S.D.N.Y), in which the Firm achieved a $110 million settlement for the class. Plaintiff alleged that Fiat
 Chrysler concealed from investors that it improperly outfitted its diesel vehicles with “defeat device”
 software designed to cheat NOx emissions regulations in the U.S. and Europe, and that regulators had
 accused Fiat Chrysler of violating the emissions regulations. The Fiat Chrysler recovery provided the class
 of investors with as much as 20% of recoverable damages—an excellent result when compared to
 historical statistics in class action settlements, where typical recoveries for cases of this size are between
 1.6% and 3.3%.

 In November 2019, Jeremy achieved a critical victory for investors in the securities fraud class action
 against Perrigo Co. plc when Judge Arleo of the United States District Court for the District of New Jersey
 certified classes of investors that purchased Perrigo securities on both the New York Stock Exchange and
 the Tel Aviv Stock Exchange. Pomerantz represents a number of institutional investors that purchased
 Perrigo securities on both exchanges after an offer by Mylan N.V. to tender Perrigo shares. This is the
 first time since Morrison that a U.S. court has independently analyzed the market of a security traded on
 a non-U.S. exchange and found that it met the standards of market efficiency necessary allow for class
 certification.

 Jeremy heads the Firm’s individual action against pharmaceutical giant Teva Pharmaceutical Industries
 Ltd. and Teva Pharmaceuticals USA, Inc. (together, “Teva”), and certain of Teva’s current and former
 employees and officers, relating to alleged anticompetitive practices in Teva’s sales of generic drugs.
 Teva is a dual-listed company, and the Firm represents several Israeli institutional investors who
 purchased Teva shares on the Tel Aviv Stock Exchange. In early 2021, Pomerantz achieved a major
 victory for global investors when the district court agreed to exercise supplemental jurisdiction over the
 Israeli law claims. Clal Insurance Company Ltd. v. Teva Pharmaceutical Industries Ltd.

 In 2019, Jeremy achieved a $27 million settlement for the Class in Strougo v. Barclays PLC, a high-profile
 securities class action in which Pomerantz was Lead Counsel. Plaintiffs alleged that Barclays PLC misled
 institutional investors about the manipulation of the banking giant’s so-called “dark pool” trading
 systems in order to provide a trading advantage to high-frequency traders over its institutional investor
 clients. This case turned on the duty of integrity owed by Barclays to its clients. In November 2017,
 Jeremy achieved precedent-setting victories for investors, when the Second Circuit Court of Appeals
 held that direct evidence of price impact is not always necessary to demonstrate market efficiency to
 invoke the presumption of reliance, and that defendants seeking to rebut the presumption of reliance
 must do so by a preponderance of the evidence rather than merely meeting a burden of production.

 Jeremy led the Firm’s securities class action litigation against Yahoo! Inc., in which Pomerantz, as Lead
 Counsel, achieved an $80 million settlement for the Class in 2018. The case involved the biggest data
 breaches in U.S. history, in which over 3 billion Yahoo accounts were compromised. This was the first
 significant settlement to date of a securities fraud class action filed in response to a data breach.


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 In 2018 Jeremy achieved a $3,300,000 settlement for the Class in the Firm’s securities class action
 against Corinthian Colleges, one of the largest for-profit college systems in the country, for alleged
 misrepresentations about its job placement rates, compliance with applicable regulations, and
 enrollment statistics. Pomerantz prevailed in the motion to dismiss the proceedings, a particularly
 noteworthy victory because Chief Judge George King of the Central District of California had dismissed
 two prior lawsuits against Corinthian with similar allegations. Erickson v. Corinthian Colleges, Inc. (C.D.
 Cal.).

 Jeremy led the Firm’s litigation team that in 2018 secured a $31 million partial settlement with three
 defendants in In re Libor Based Financial Instruments Antitrust Litigation, a closely watched multi-district
 litigation, which concerns the London Interbank Offered Rate (LIBOR) rigging scandal.

 In In re China North East Petroleum Corp. Securities Litigation, Jeremy achieved a significant victory for
 shareholders in the United States Court of Appeals for the Second Circuit, whereby the Appeals Court
 ruled that a temporary rise in share price above its purchase price in the aftermath of a corrective
 disclosure did not eviscerate an investor’s claim for damages. The Second Circuit’s decision was deemed
 “precedential” by the New York Law Journal and provides critical guidance for assessing damages in a §
 10(b) action.

 Jeremy had an integral role in In re Comverse Technology, Inc. Securities Litigation, in which he and his
 partners achieved a historic $225 million settlement on behalf of the Class, which was the second-
 largest options backdating settlement to date.

 Jeremy regularly consults with Pomerantz’s international institutional clients, including pension funds,
 regarding their rights under the U.S. securities laws. Jeremy is working with the Firm’s international
 clients to craft a response to the Supreme Court’s ruling in Morrison v. National Australia Bank, Ltd.,
 which limited the ability of foreign investors to seek redress under the federal securities laws.

 Jeremy is a frequent lecturer worldwide regarding current corporate governance and securities litigation
 issues.

 Jeremy graduated from Fordham University School of Law in 2002. While in law school, he served as a
 staff member of the Fordham Urban Law Journal. Upon graduation, he began his career at a major New
 York law firm as a litigation associate, where he specialized in complex commercial litigation.

 Jeremy is admitted to practice in New York; the United States District Courts for the Southern and
 Eastern Districts of New York, the Southern District of Texas, the District of Colorado, the Eastern District
 of Michigan, the Eastern District of Wisconsin, and the Northern District of Illinois; the United States
 Courts of Appeals for the First, Second, Third, Fourth, Fifth, Sixth, Ninth, and Tenth Circuits; and the
 United States Supreme Court.

 Gustavo F. Bruckner

 Gustavo F. Bruckner heads Pomerantz’s Corporate Governance practice group, which enforces
 shareholder rights and prosecutes litigation challenging corporate actions that harm shareholders.
 Under Gustavo’s leadership, the Corporate Governance group has achieved numerous noteworthy
 litigation successes. He has been quoted on corporate governance issues by The New York Times, The

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 Wall Street Journal, Bloomberg, Law360, and Reuters, and was honored from 2016 through 2021 by
 Super Lawyers® as a “Top-Rated Securities Litigation Attorney,” a recognition bestowed on no more
 than 5% of eligible attorneys in the New York Metro area. Gustavo regularly appears in state and federal
 courts across the nation. Gustavo presented at the prestigious Institute for Law and Economic Policy
 conference.

 Gustavo is a fierce advocate of aggressive corporate clawback policies that allow companies to recover
 damages from officers and directors for reputational and financial harm. Most recently, in McIntosh vs
 Keizer, et al., Docket No. 2018-0386 (Del. Ch.), Pomerantz filed a derivative suit on behalf of Hertz Global
 Holdings, Inc. shareholders, seeking to compel the Hertz board of directors to claw back millions of
 dollars in unearned and undeserved payments that the Company made to former officers and directors
 who significantly damaged Hertz through years of wrongdoing and misconduct. Under pressure from
 plaintiff’s ligation efforts, the Hertz board of directed elected to take unprecedented action and mooted
 plaintiff’s claims, initiating litigation to recover tens of millions of dollars in incentive compensation and
 more than $200 million in damages from culpable former Hertz executives.

 Pomerantz through initiation and prosecution of a shareholder derivative action, forced the Hertz board
 to seek clawback from former officers and directors of the company, unjustly enriched after causing the
 Company to file inaccurate and false financial statements leading to a $235 million restatement and $16
 million fee to the SEC.

 In September 2017, Gustavo’s Corporate Governance team achieved a settlement in New Jersey
 Superior Court that provided non-pecuniary benefits for a non-opt out class. In approving the
 settlement, Judge Julio Mendez, of Cape May County Chancery Division, became the first New Jersey
 state court judge to formally adopt the Third Circuit’s nine-part Girsh factors, Girsh v. Jepson, 521 F.2d
 153 (3d Cir. 1975). Never before has there been a published New Jersey state court opinion setting out
 the factors a court must consider in evaluating whether a class action settlement should be determined
 to be fair and adequate.

 Gustavo successfully argued Strougo v. Hollander, C.A. No. 9770-CB (Del. Ch. 2015), obtaining a
 landmark ruling in Delaware that bylaws adopted after shareholders are cashed out do not apply to
 shareholders affected by the transaction. In the process, Gustavo and the Corporate Governance team
 beat back a fee-shifting bylaw and were able to obtain a 25% price increase for members of the class
 cashed out in the “going private” transaction. Shortly thereafter, the Delaware Legislature adopted
 legislation to ban fee-shifting bylaws.

 In Stein v. DeBoer (Or. Cir. Ct. 2017), Gustavo and the Corporate Governance group achieved a
 settlement that provides significant corporate governance therapeutics on behalf of shareholders of
 Lithia Motors, Inc. The company’s board had approved, without meaningful review, the Transition
 Agreement between the company and Sidney DeBoer, its founder, controlling shareholder, CEO, and
 Chairman, who was stepping down as CEO. DeBoer and his son, the current CEO, negotiated virtually all
 the material terms of the Agreement, by which the company agreed to pay the senior DeBoer
 $1,060,000 and a $42,000 car allowance annually for the rest of his life, plus other benefits, in addition
 to the $200,000 per year that he would receive for continuing to serve as Chairman.




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 In Miller v. Bolduc, No. SUCV 2015-00807 (Mass. Sup. Ct. 2015), Gustavo and the Corporate Governance
 group, by initiating litigation, caused Implant Sciences to hold its first shareholder annual meeting in 5
 years and to place an important compensation grant up for a shareholder vote.

 In Strougo v. North State Bancorp, No. 15 CVS 14696 (N.C. Super. Ct. 2015), Gustavo and the Corporate
 Governance team caused the North State Bancorp merger agreement to be amended to provide a
 “majority of the minority” provision for common shareholders in connection with the shareholder vote
 on the merger. As a result of the action, common shareholders had the ability to stop the merger if they
 did not wish it to go forward.

 In Hallandale Beach Police Officers and Firefighters’ Personnel Retirement Fund vs. Lululemon athletica,
 Inc., C.A. No. 8522-VCP (Del. Ch. 2014), in an issue of first impression in Delaware, Gustavo successfully
 argued for the production of the company chairman’s Rule 10b5-1 stock trading plan. The court found
 that a stock trading plan established by the company's chairman, pursuant to which a broker, rather
 than the chairman himself, would liquidate a portion of the chairman's stock in the company, did not
 preclude potential liability for insider trading.

 Gustavo was Co-Lead Counsel in In re Great Wolf Resorts, Inc. Shareholders Litigation, C.A. No. 7328-
 VCN (Del. Ch. 2012), obtaining the elimination of stand-still provisions that allowed third parties to bid
 for Great Wolf Resorts, Inc., resulting in the emergence of a third-party bidder and approximately $94
 million (57%) in additional merger consideration for Great Wolf shareholders.

 Gustavo received his law degree in 1992 from the Benjamin N. Cardozo School of Law, where he served
 as an editor of the Moot Court Board and on the Student Council. Upon graduation, he received the
 award for outstanding student service.

 After graduating law school, Gustavo served as Chief-of-Staff to a New York City legislator.

 Gustavo is a Mentor and Coach to the NYU Stern School of Business, Berkley Center for Entrepreneurial
 Studies, New Venture Competition. He was a University Scholar at NYU where he obtained a B.S. in
 Marketing and International Business in 1988 and an MBA in Finance and International Business in 1989.

 Gustavo is a Trustee and former Treasurer of the Beit Rabban Day School, and an arbitrator in the Civil
 Court of the City of New York.

 Gustavo is admitted to practice in New York and New Jersey; the United States District Courts for the
 Eastern, Northern, and Southern Districts of New York and the District of New Jersey; the United States
 Courts of Appeals for the Second and Seventh Circuits; and the United States Supreme Court.

 Justin D. D’Aloia

 Justin D. D’Aloia is a Partner in Pomerantz’s New York office, where he specializes in securities class
 action litigation. He has extensive experience litigating high-profile securities cases in federal and state
 courts across the country. Justin has represented issuers, underwriters, and senior executives in matters
 involving a range of industries, including the financial services, life sciences, real estate, technology, and



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 consumer retail sectors. His practice covers the full spectrum of proceedings from pre-suit demand
 through settlement.

 Justin joined Pomerantz as a Partner in October 2022. Before joining Pomerantz, Justin was counsel at a
 large international law firm where he focused on securities litigation and other complex shareholder
 class action litigation. He previously served as a law clerk to Judge Mark Falk of the United States District
 Court for the District of New Jersey.

 Justin received his J.D. from Fordham University School of Law, where he was Editor-in-Chief of the
 Fordham International Law Journal. He earned his undergraduate degree from Rutgers University with a
 concentration in Business and Economics.

 Emma Gilmore

 Emma Gilmore is a Partner at Pomerantz and is regularly involved in high-profile class-action litigation.
 In 2021, Emma was awarded a spot on National Law Journal’s prestigious Elite Women of the Plaintiffs
 Bar list. In 2021 and 2020, she was named by Benchmark Litigation as one of the Top 250 Women in
 Litigation — an honor bestowed on only seven plaintiffs’ lawyers in the U.S. those years. The National
 Law Journal and the New York Law Journal honored her as a “Plaintiffs’ Lawyer Trailblazer”. Emma was
 honored by Law360 in 2018 as an MVP in Securities Litigation, part of an “elite slate of attorneys [who]
 have distinguished themselves from their peers by securing hard-earned successes in high-stakes
 litigation, complex global matters and record-breaking deals.” Only up to six attorneys nationwide are
 selected each year as MVPs in Securities Litigation. Emma is the first woman plaintiff attorney to receive
 this outstanding award since it was initiated in 2011. Emma has been honored since 2018 as a Super
 Lawyer®. She has been recognized by Lawdragon as one of the top 500 Leading Plaintiff Financial
 Lawyers.
 Emma is regularly invited to speak about recent trends and developments in securities litigation. She
 serves on the New York City Bar Association’s Securities Litigation Committee. Emma regularly counsels
 clients around the world on how to maximize recoveries on their investments.

 Emma played a leading role in the Firm’s class action case in the Southern District of New York against
 Brazil’s largest oil company, Petrobras, arising from a multi-billion-dollar kickback and bribery scheme, in
 which the Firm was sole Lead Counsel. In a significant victory for investors, Pomerantz achieved a
 historic $3 billion settlement with Petrobras. This is not only the largest securities class action
 settlement in a decade but is the largest settlement ever in a class action involving a foreign issuer, the
 fifth-largest class action settlement ever achieved in the United States, and the largest settlement
 achieved by a foreign lead plaintiff. The biggest instance of corruption in the history of Brazil had
 ensnared not only Petrobras' former executives but also Brazilian politicians, including former president
 Lula da Silva and one-third of the Brazilian Congress. Emma traveled to Brazil to uncover evidence of
 fraud and drafted the complaint. She deposed and defended numerous fact and expert witnesses,
 including deposing the former CEO of Petrobras, the whistleblower, and the chief accountant. She
 drafted the appellate brief, playing an instrumental role in securing a significant victory for investors in
 this case at the Second Circuit Court of Appeals, when the Court rejected the heightened ascertainability
 requirement for obtaining class certification that had been imposed by other circuit courts. She opposed


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 defendants' petition for a writ of certiorari to the Supreme Court. Emma successfully obtained sanctions
 against a professional objector challenging the integrity of the settlement, both in the District Court and
 in the Court of Appeals for the Second Circuit.

 Emma organized a group of twenty-seven of the foremost U.S. scholars in the field of evidence and
 spearheaded the effort to submit an amicus brief to the U.S. Supreme Court on their behalf in a critical
 issue for investors. One of the two pending issues before the High Court in Goldman Sachs Group Inc. et
 al v. Arkansas Teachers Retirement System, et al. (No. 20-222) squarely affected investors’ ability to
 pursue claims collectively as a class: whether, in order to rebut the presumption of reliance originated
 by the Court in the landmark Basic v. Levinson decision, defendants bear the burden of persuasion, or
 whether they bear only the much lower burden of production. The scholars argued that defendants
 carry the higher burden of persuasion. In a 6-3 decision, the Supreme Court sided with Pomerantz and
 the scholars.

 Emma leads the Firm’s class action litigation against Deutsche Bank and its executives, arising from the
 Bank’s improper anti-money-laundering and know-your-customer procedures, including the Bank’s
 servicing and lending practices to disgraced financier and multiple sex offender Jeffrey Epstein. The
 District Court for the Southern District of New York sustained the majority of Plaintiffs’ claims.

 Emma is Lead Counsel in the Firm's class action litigation against Arconic, arising from the deadliest U.K.
 fire in more than a century.

 Emma played a leading role in Strougo v. Barclays PLC, a high-profile securities class action that alleged
 Barclays PLC misled institutional investor clients about the extent of the banking giant’s use of so-called
 “dark pool” trading systems. She drafted the complaint, defeated defendants’ efforts to dismiss the
 action, and contributed to securing an important precedent-setting opinion from the Second Circuit.
 Emma organized a group of leading evidence experts who filed amicus briefs supporting plaintiffs’
 position in the Second Circuit.

 Emma was Lead Counsel in the high-profile class action litigation against Yahoo! Inc., in which the Firm,
 as Lead Counsel, achieved an $80 million settlement for the Class. The case involved the biggest data
 breaches in U.S. history, in which over 3 billion Yahoo accounts were compromised.

 Among other cases, Emma is part of the team prosecuting securities fraud claims against BP on behalf of
 many foreign and domestic public and private pension funds arising from the company's 2010
 Deepwater Horizon oil spill. In re BP p.l.c. Sec. Litig., No. 10-md-2185 (S.D. Tex.). She helped devise a
 cutting-edge strategy that established the right of individual foreign investors who purchased foreign-
 traded shares of a foreign corporation to pursue claims for securities fraud in a U.S. court, thereby
 overcoming obstacles created by the U.S. Supreme Court's 2010 decision in Morrison v. National
 Australia Bank Ltd.




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 Emma secured a unanimous decision by a panel of the Ninth Circuit Court of Appeals, benefiting
 defrauded investors in Costa Brava Partnership III LP v. ChinaCast Education Corp. In an issue of first
 impression, the Ninth Circuit held that imputation of the CEO's scienter to the company was warranted
 vis-a-vis innocent third parties, despite the fact that the executive acted for his own benefit and to the
 company's detriment.

 She has also devoted a significant amount of time to pro bono matters. She played a critical role in
 securing a unanimous ruling by the Arkansas Supreme Court striking down as unconstitutional a state
 law banning cohabiting individuals from adopting children or serving as foster parents. The ruling was a
 relief for the 1,600-plus children in the state of Arkansas who needed a permanent family. The litigation
 generated significant publicity, including coverage by the Arkansas Times, the Wall Street Journal, and
 the New York Times.

 Before joining Pomerantz, Emma was a litigation associate with the firms of Skadden, Arps, Slate,
 Meagher and Flom, LLP, and Sullivan & Cromwell, LLP. She worked on the WorldCom Securities
 Litigation, which settled for $2 billion.

 She also served as a law clerk to the Honorable Thomas C. Platt, former U.S. Chief Judge for the Eastern
 District of New York.

 Emma graduated cum laude from Brooklyn Law School, where she served as a staff editor for
 the Brooklyn Law Review. She was the recipient of two CALI Excellence for the Future Awards, being the
 highest scoring student in the subjects of evidence and discovery. She graduated summa cum
 laude from Arizona State University, with a BA in French and a minor in Business.

 She serves on the Firm's Anti-Harassment and Discrimination Committee.

 Michael Grunfeld

 Michael Grunfeld joined Pomerantz in July 2017 as Of Counsel and was elevated to Partner in 2019.

 Michael has extensive experience in securities, complex commercial, and white-collar matters in federal
 and state courts around the country.

 He has played a leading role in some of the Firm’s significant class action litigation, including its case
 against Yahoo! Inc. arising out of the biggest data breaches in U.S. history, in which the Firm, as Lead
 Counsel, achieved an $80 million settlement on behalf of the Class. This settlement made history as the
 first substantial shareholder recovery in a securities fraud class action related to a cybersecurity breach.
 Michael also plays a leading role in many of the Firm’s other ongoing class actions.

 Michael is an honoree of Benchmark Litigation’s 40 & Under Hot List 2020, 2021, and 2022, granted to a
 few of the “best and brightest law firm partners who stand out in their practices.” He was named a 2019
 Rising Star by Law360, a prestigious honor awarded to a select few top litigators under 40 years old
 “whose legal accomplishments transcend their age.” In 2020, 2021, and 2022, Michael was recognized

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 by Super Lawyers® as a Top-Rated Securities Litigation Attorney;” in 2018 and 2019 he was honored as a
 New York Metro Rising Star.

 Michael also leads Pomerantz’s litigation on behalf of the Colorado Public Employees’ Retirement
 System as an intervenor in The Doris Behr 2012 Irrevocable Trust v. Johnson & Johnson. At issue is an
 activist investor’s attempt to have Johnson & Johnson (“J&J”) shareholders vote on a proxy proposal
 instituting a corporate bylaw that would require all securities fraud claims against the company to be
 pursued through mandatory arbitration, and that would waive shareholder’s rights to bring securities
 class actions. In March 2022, the district court handed down an important victory for shareholders when
 it granted J&J’s and the Intervenors’ Motion to Dismiss the Third Amended Complaint.

 Michael is the co-author of a chapter on damages in securities class actions in the LexisNexis
 treatise, Litigating Securities Class Actions.

 Michael served as a clerk for Judge Ronald Gilman of the Sixth Circuit Court of Appeals and as a foreign
 law clerk for Justice Asher Grunis of the Israeli Supreme Court. Before joining Pomerantz, he was a
 litigation associate at Shearman & Sterling LLP and Paul, Weiss, Rifkind, Wharton & Garrison LLP.

 Michael graduated from Columbia Law School in 2008, where he was a Harlan Fiske Stone Scholar and
 Submissions Editor of the Columbia Business Law Review. He graduated from Harvard University with an
 A.B. in Government, magna cum laude, in 2004.

 Michael is admitted to practice in New York; the United States District Courts for the Southern and
 Eastern Districts of New York and the District of Colorado; and the United States Courts of Appeal for the
 Second, Third, Fourth, Sixth, Ninth, and Tenth Circuits.

 J. Alexander Hood II

 J. Alexander Hood II joined Pomerantz in June 2015 and was elevated to Of Counsel to the Firm in 2019.
 He was elevated to Partner in 2022. Alex leads the Firm’s case origination team, identifying and
 investigating potential violations of the federal securities laws. He has been named a Super Lawyers®
 Rising Star each year since 2019.

 Alex played a key role in securing Pomerantz’s appointment as Lead Counsel in actions against Yahoo!
 Inc., Fiat Chrysler Automobiles N.V., Wynn Resorts Limited, Mylan N.V., The Western Union Company,
 Perrigo Company plc, Blue Apron Holdings, Inc., AT&T Inc., Wells Fargo & Company, and Raytheon
 Technologies Corporation, among others.

 Alex also oversees the firm’s involvement on behalf of institutional investors in non-U.S. litigations,
 assisting Pomerantz clients with respect to evaluating and pursuing recovery in foreign jurisdictions,
 including matters in the Netherlands, Germany, the UK, Australia, Brazil, Denmark, and elsewhere.

 Prior to joining Pomerantz, Alex practiced at nationally recognized law firms, where he was involved in
 commercial, financial services, corporate governance and securities matters.




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 Alex graduated from Boston University School of Law (J.D.) and from the University of Oregon School of
 Law (LL.M.). During law school, he served as a member of the Boston University Review of Banking &
 Financial Law and participated in the Thomas Tang Moot Court Competition. In addition, Alex clerked for
 the American Civil Liberties Union of Tennessee and, as a legal extern, worked on the Center for
 Biological Diversity’s Clean Water Act suit against BP in connection with the Deepwater Horizon oil spill.

 Alex is admitted to practice in New York; the United States District Courts for the Southern, Eastern,
 Western and Northern Districts of New York; the District of Colorado; the Eastern District of Michigan;
 the Eastern District of Wisconsin; the Northern District of Illinois; the Northern District of Indiana; the
 Southern District of Texas; and the United States Courts of Appeals for the Second Circuit.

 Jordan L. Lurie

 Jordan L. Lurie joined Pomerantz as a partner in the Los Angeles office in December 2018. Jordan heads
 Pomerantz’s Strategic Consumer Litigation practice. He was named a 2021 Southern California Super
 Lawyer®.

 Jordan has litigated shareholder class and derivative actions, complex corporate securities and
 consumer litigation, and a wide range of fraud and misrepresentation cases brought under state and
 federal consumer protection statutes involving unfair competition, false advertising, and privacy rights.
 Among his notable representations, Jordan served as Lead Counsel in the prosecution and successful
 resolution of major nationwide class actions against Nissan, Ford, Volkswagen, BMW, Toyota, Chrysler
 and General Motors. He also successfully preserved a multi-million dollar nationwide automotive class
 action settlement by convincing the then Chief Judge of the Ninth Circuit and his wife, who were also
 class members and had filed objections to the settlement, to withdraw their objections and endorse the
 settlement.

 Jordan has argued cases in the California Court of Appeals and in the Ninth Circuit that resulted in
 published opinions establishing class members’ rights to intervene and clarifying the standing
 requirements for an objector to appeal. He also established a Ninth Circuit precedent for obtaining
 attorneys’ fees in a catalyst fee action. Jordan has tried a federal securities fraud class action to verdict.
 He has been a featured speaker at California Mandatory Continuing Legal Education seminars and is a
 trained ombudsman and mediator.

 Outside of his legal practice, Jordan is an active educator and community leader and has held executive
 positions in various organizations in the Los Angeles community. Jordan participated in the first Wexner
 Heritage Foundation leadership program in Los Angeles and the first national cohort of the Board
 Member Institute for Jewish Nonprofits at the Kellogg School of Management.

 Prior to joining Pomerantz, Jordan was the Managing Partner of the Los Angeles office of Weiss & Lurie
 and Senior Litigator at Capstone Law APC.

 Jordan graduated cum laude from Yale University in 1984 with a B.A in Political Science and received his
 law degree in 1987 from the University of Southern California Law Center, where he served as Notes
 Editor of the University of Southern California Law Review.



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 Jordan is a member of the State Bar of California and has been admitted to practice before the United
 States District Courts for the Northern, Southern, Central and Eastern Districts of California, the Eastern
 and Western Districts of Michigan, and the District of Colorado.

 Jennifer Pafiti

 Jennifer Pafiti became associated with the Firm in April 2014 and was elevated to Partner in December
 2015. A dually qualified U.K. solicitor and U.S. attorney, she is the Firm’s Head of Client Services and also
 takes an active role in complex securities litigation, representing clients in both class and non-class
 action securities litigation.

 In 2021, Jennifer was selected as a “Women, Influence and Power in Law” honoree by Corporate
 Counsel, in the Collaborative Leadership – Law Firm category. Lawdragon named Jennifer among the
 2021 Leading 500 Lawyers in the United States. In 2020 she was named a California Rising Star by Super
 Lawyers® and was recognized by Benchmark Litigation as a Future Star. Lawdragon has recognized
 Jennifer as a Leading Plaintiff Financial Attorney from 2019 through 2021. In 2019, she was also honored
 by Super Lawyers® as a Southern California Rising Star in Securities Litigation, named to Benchmark
 Litigation’s 40 & Under Hot List of the best young attorneys in the United States, and recognized by Los
 Angeles Magazine as one of Southern California’s Top Young Lawyers. In 2018, Jennifer was recognized
 as a Lawyer of Distinction. She was honored by Super Lawyers® in 2017 as both a Rising Star and one of
 the Top Women Attorneys in Southern California. In 2016, the Daily Journal selected Jennifer for its “Top
 40 Under 40” list of the best young attorneys in California.

 Jennifer was an integral member of the Firm’s litigation team for In re Petrobras Securities Litigation, a
 case relating to a multi-billion-dollar kickback and bribery scheme at Brazil’s largest oil company,
 Petróleo Brasileiro S.A.- Petrobras, in which the Firm was sole Lead Counsel. She helped secure a
 significant victory for investors in this case at the Second Circuit Court of Appeals, when the court
 rejected the heightened ascertainability requirement for obtaining class certification that had been
 imposed by other Circuit courts such as the Third and Sixth Circuit Courts of Appeals. Working closely
 with Lead Plaintiff, Universities Superannuation Scheme Limited, she was also instrumental in achieving
 the historic settlement of $3 billion for Petrobras investors. This is not only the largest securities class
 action settlement in a decade but is the largest settlement ever in a securities class action involving a
 foreign issuer, the fifth-largest securities class action settlement ever achieved in the United States, the
 largest securities class action settlement achieved by a foreign Lead Plaintiff, and the largest securities
 class action settlement in history not involving a restatement of financial reports.

 Jennifer was involved, among other cases, in the securities class action against rare disease
 biopharmaceutical company, KaloBios, and certain of its officers, including CEO Martin Shkreli. In 2018,
 Pomerantz achieved a settlement of $3 million plus 300,000 shares for defrauded investors – an
 excellent recovery in light of the company’s bankruptcy. Isensee v. KaloBios. Jennifer also helped achieve
 a $10 million recovery for the class in a securities litigation against the bankrupt Californian energy
 company, PG&E, which arose from allegedly false statements made by the company about its rolling
 power outages in the wake of the catastrophic wildfire incidents that occurred in California in 2015,
 2017, and 2018. Vataj v. Johnson, et al.




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 Jennifer earned a Bachelor of Science degree in Psychology at Thames Valley University in England, prior
 to studying law. She earned her law degrees at Thames Valley University (G.D.L.) and the Inns of Court
 School of Law (L.P.C.) in the U.K.

 Before studying law in England, Jennifer was a regulated financial advisor and senior mortgage
 underwriter at a major U.K. financial institution. She holds full CeFA and CeMAP qualifications. After
 qualifying as a solicitor, Jennifer specialized in private practice civil litigation, which included the
 representation of clients in high-profile cases in the Royal Courts of Justice. Prior to joining Pomerantz,
 Jennifer was an associate with Robbins Geller Rudman & Dowd LLP in their San Diego office.

 Jennifer regularly travels throughout the U.S. and Europe to advise clients on how best to evaluate
 losses to their investment portfolios attributable to financial fraud or other misconduct, and how best to
 maximize their potential recoveries. Jennifer is also a regular speaker at events on securities litigation
 and fiduciary duty.

 Jennifer served on the Honorary Steering Committee of Equal Rights Advocates (“ERA”), which focuses
 on specific issues that women face in the legal profession. ERA is an organization that protects and
 expands economic and educational access and opportunities for women and girls.

 Jennifer is a member of the National Association of Pension Fund Attorneys and represents the Firm as a
 member of the California Association of Public Retirement Systems, the State Association of County
 Retirement Systems, the National Association of State Treasurers, the National Conference of Employee
 Retirement Systems, the Texas Association of Public Employee Retirement Systems, and the
 U.K.'s National Association of Pension Funds.

 Jennifer is admitted to practice in England and Wales; California; the United States District Courts for the
 Northern, Central and Southern Districts of California; and the United States Court of Appeals for the
 Ninth Circuit.

 Joshua B. Silverman

 Joshua B. Silverman is a partner in the Firm’s Chicago office. He specializes in individual and class action
 securities litigation.

 Josh was Lead Counsel in In re Groupon, Inc. Securities Litigation, achieving a $45 million settlement, one
 of the highest percentage recoveries in the Seventh Circuit. He was also Lead or Co-Lead Counsel in In re
 MannKind Corp. Securities Litigation ($23 million settlement); In re AVEO Pharmaceuticals, Inc.
 Securities Litigation ($18 million settlement, more than four times larger than the SEC’s fair fund
 recovery in parallel litigation); New Mexico State Investment Council v. Countrywide Financial Corp. (very
 favorable confidential settlement); New Mexico State Investment Council v. Cheslock Bakker &
 Associates (summary judgment award in excess of $30 million); Sudunagunta v. NantKwest, Inc. ($12
 million settlement); Bruce v. Suntech Power Holdings Corp. ($5 million settlement); In re AgFeed, Inc.
 Securities Litigation ($7 million settlement); and In re Hemispherx BioPharma Securities Litigation ($2.75
 million settlement). Josh also played a key role in the Firm's representation of investors before the
 United States Supreme Court in StoneRidge, and prosecuted many of the Firm's other class cases,
 including In re Sealed Air Corp. Securities Litigation ($20 million settlement).


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 Josh, together with Managing Partner Jeremy Lieberman, achieved a critical victory for investors in the
 securities fraud class action against Perrigo Co. plc when Judge Arleo of the United States District Court
 for the District of New Jersey certified classes of investors that purchased Perrigo securities on both the
 New York Stock Exchange and the Tel Aviv Stock Exchange. Pomerantz represents a number of
 institutional investors that purchased Perrigo securities on both exchanges after an offer by Mylan N.V.
 to tender Perrigo shares. This is the first time since Morrison that a U.S. court has independently
 analyzed the market of a security traded on a non-U.S. exchange, and found that it met the standards of
 market efficiency necessary allow for class certification.

 Several of Josh’s cases have set important precedent. For example, In re MannKind established that
 investors may support complaints with expert information. New Mexico v. Countrywide recognized that
 investors may show Section 11 damages for asset-backed securities even if there has been no
 interruption in payment or threat of default. More recently, NantKwest was the first Section 11 case in
 the nation to recognize statistical proof of traceability.

 In addition to prosecuting cases, Josh regularly speaks at investor conferences and continuing legal
 education programs.

 Before joining Pomerantz, Josh practiced at McGuireWoods LLP and its Chicago predecessor, Ross &
 Hardies, where he represented one of the largest independent futures commission merchants in
 commodities fraud and civil RICO cases. He also spent two years as a securities trader, and continues to
 actively trade stocks, futures, and options for his own account.

 Josh is a 1993 graduate of the University of Michigan, where he received Phi Beta Kappa honors, and a
 1996 graduate of the University of Michigan Law School.

 Josh is admitted to practice in Illinois; the United States District Court for the Northern District of Illinois;
 the United States Courts of Appeals for the First, Second, Third, Seventh, Eighth and Ninth Circuits; and
 the United States Supreme Court.

 Brenda Szydlo

 Brenda Szydlo joined Pomerantz in January 2016 as Of Counsel and was elevated to Partner in 2022. She
 brings to the Firm extensive experience in complex civil litigation in federal and state court on behalf of
 plaintiffs and defendants, with a particular focus on securities and financial fraud litigation, litigation
 against pharmaceutical corporations, accountants’ liability, and commercial litigation. In 2020, 2021, and
 2022, Brenda was recognized by Super Lawyers® as a “Top-Rated Securities Litigation Attorney. Brenda
 was also included on the Lawdragon 500 Leading Plaintiff Financial Lawyers list for 2022.

 Brenda played a leading role in the Firm’s securities class action case in the Southern District of New
 York against Brazil’s largest oil company, Petrobras, arising from a multi-billion-dollar kickback and
 bribery scheme, in which the Firm, as sole Lead Counsel, achieved a precedent-setting legal ruling and a
 historic $3 billion settlement for the Class. This is not only the largest securities class action settlement
 in a decade but is the largest settlement ever in a securities class action involving a foreign issuer, the
 fifth-largest securities class action settlement ever achieved in the United States, the largest securities
 class action settlement achieved by a foreign Lead Plaintiff, and the largest securities class action
 settlement in history not involving a restatement of financial reports.


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 Brenda has represented investors in additional class and private actions that have resulted in significant
 recoveries, such as In re Pfizer, Inc. Securities Litigation, where the recovery was $486 million, and In re
 Refco, Inc. Securities Litigation, where the recovery was in excess of $407 million. She has also
 represented investors in opt-out securities actions, such as investors opting out of In re Bank of America
 Corp. Securities, Derivative & ERISA Litigation in order to pursue their own securities action.

 Prior to joining Pomerantz, Brenda served as Senior Counsel in a prominent plaintiff advocacy firm,
 where she represented clients in securities and financial fraud litigation, and litigation against
 pharmaceutical corporations and accounting firms. Brenda also served as Counsel in the litigation
 department of one of the largest premier law firms in the world, where her practice focused on
 defending individuals and corporation in securities litigation and enforcement, accountants’ liability
 actions, and commercial litigation.

 Brenda is a graduate of St. John’s University School of Law, where she was a St. Thomas More Scholar
 and member of the Law Review. She received a B.A. in economics from Binghamton University.

 Brenda is admitted to practice in New York; United States District Courts for the Southern and Eastern
 Districts of New York; the U.S. Courts of Appeals for the Second and Ninth Circuits; and the United States
 Supreme Court.

 Matthew L. Tuccillo

 A Partner since 2013, Matthew L. Tuccillo joined Pomerantz in 2011. With 22+ years of experience, he is
 recognized as a top national securities litigator.

 Matt was named a Super Lawyers® “Top-Rated Securities Litigation Attorney” (2016-present), Legal 500
 recommended securities litigator (2021, 2016), Benchmark Litigation Star (2021), American Lawyer
 Northeast Trailblazer (2021), Lawdragon Leading Plaintiff Financial Lawyer (2019-2020), Lawyer
 Monthly’s 2018 U.S. Federal Tort Lawyer of the Year (2018), and Martindale-Hubbell AV® Preeminent™
 peer-rated attorney (2014-present). His advocacy has been covered by Bloomberg, Law360, the Houston
 Chronicle, the Hartford Business Journal, and other outlets.

 Matt regularly serves as Pomerantz’s lead litigator on securities fraud lawsuits pending nationwide,
 including these representative matters:

     •   In Edwards v. McDermott Int’l, Inc., No. 4:18-cv-4330-AB (S.D. Tex.), Matt successfully opposed a
         motion to dismiss class action claims alleging a multi-year, several-prong fraud by a leading oil
         and gas technology, engineering, and construction company that completed a risky merger,
         belatedly reported massive write-downs of distressed projects, and declared bankruptcy. The
         lawsuit is proceeding through discovery.

     •   In Odonate Therapeutics, Inc., et al., No. 3:20-01828-H-LL (S.D. Cal.), Matt successfully opposed
         a motion to dismiss in a securities lawsuit arising from a company’s failure to complete clinical
         trials and gain FDA approval of a drug candidate. Notably, the court held that defendants’

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        scienter was sufficiently alleged, even though they bought, rather than sold, company stock
        during the period of alleged fraud. After a mediation, the case settled for $12.75 million, and the
        settlement was granted preliminary approval by the court in early 2022.

    •   In Chun v. Fluor Corp., et al., No. 3:18-cv-01338-S (N.D. Tex.), working with co-lead counsel, Matt
        succeeded in partially opposing the motion to dismiss a class action lawsuit alleging a company’s
        underbidding and misrepresenting the status of large, fixed-price projects. After a lengthy
        mediation process, a tentative settlement has been reached, for which court approval will be
        sought in early 2022.

    •   In Crutchfield v. Match Group, et al., No. 3:19-cv-2356 (N.D. Tex.), Matt persuaded the court,
        after an initial dismissal, to uphold a second amended complaint alleging a multi-year, multi-
        prong fraud by the largest online dating company, based on misstatements and nondisclosures
        as to underlying bad actor user accounts, marketing based thereon, and the impacts to the
        company’s GAAP-compliant reported results. The lawsuit is proceeding through discovery.

    •   In In re BP p.l.c. Secs. Litig., No. 4:10-md-2185 (S.D. Tex.), where the court praised the
        “uniformly excellent” “quality of lawyering,” Matt spearheaded lawsuits over BP’s Gulf of
        Mexico oil spill by 125+ global institutional investors. Over 9 years, he successfully opposed
        three motions to dismiss, oversaw e-discovery of 1.75 million documents, led the Plaintiffs
        Steering Committee, was the sole interface with BP and the Court, and secured some of the
        Firm’s most ground-breaking rulings. In a ruling of first impression, he successfully argued that
        investors asserted viable English law “holder claims” for losses due to retention of already-
        owned shares in reliance on a fraud, a theory barred under U.S. law since Blue Chip Stamps v.
        Manor Drug Stores, 421 U.S. 723 (1975). He successfully argued against forum non conveniens
        (wrong forum) dismissal of 80+ global institutions’ lawsuits - the first ruling after Morrison v.
        Nat’l Australia Bank Ltd., 130 S. Ct. 2869 (2010), to permit foreign investors to pursue in U.S.
        court their foreign law claims for losses in a foreign company’s securities traded on a foreign
        exchange. He successfully argued that the U.S. Securities Litigation Uniform Standards Act of
        1998 (SLUSA), which extinguishes U.S. state law claims in deference to the U.S. federal law,
        should not extend to the foreign law claims of U.S. and foreign investors, a ruling that saved
        those claims from dismissal where U.S. federal law afforded no remedy after Morrison. In 2021,
        Matt achieved mediator-assisted, confidential, favorable monetary settlement for all 35 Firm
        clients, including public and private pension funds, money management firms, partnerships, and
        trusts from the U.S., Canada, the U.K., France, the Netherlands, and Australia.

    •   In In re Toronto-Dominion Bank Sec. Litig., No. 1:17-cv-01735 (D.N.J.), Matt pled a multi-year
        fraud arising at one of Canada’s largest banks, based on extensive statements by former
        employees detailing underlying retail banking misconduct. Matt persuaded the court to reject
        defendants’ motion to dismiss and to approve a $13.25 million class-wide settlement.

    •   In Perez v. Higher One Holdings, Inc., et al., No. 14-cv-00755-AWT (D. Conn.), Matt persuaded
        the court, after an initial dismissal, to uphold a second amended complaint asserting five


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         threads of fraud by an education funding company and its founders and to approve a $7.5
         million class-wide settlement. Notably, the court held that the company’s reported financial
         results violated SEC Regulation S-K, Item 303, for failure to disclose known trends and impacts
         from underlying misconduct – a rare ruling absent an accounting restatement.

     •   In re KaloBios Pharmaceuticals, Inc. Sec. Litig., No. 15-cv-05841 (N.D. Cal.) concerned a bankrupt
         drug company and its jailed ex-CEO. Matt negotiated two class-wide settlements totaling $3.25+
         million, including cash payments and stock from the company, approved by the bankruptcy
         court and district court.

     •   In re Silvercorp Metals, Inc. Sec.s Litig., No. 1:12-cv-09456 (S.D.N.Y.) concerned a Canadian
         company with mining operations in China and NYSE-traded stock. Matt worked with mining,
         accounting, damages, and market efficiency experts to survive a motion to dismiss, oversee
         discovery, and negotiate a $14 million class-wide settlement after two mediations. In approving
         the settlement, Judge Rakoff called the case was “unusually complex,” given the technical
         nature of mining metrics, the need to compare mining standards in Canada, China, and the U.S.,
         and the volume of Chinese-language evidence.

 Matt’s prior casework includes litigation and resolution of complex disputes over roll up combinations.
 At Pomerantz, he was on the multi-firm team that litigated and settled In re Empire State Realty Trust,
 Inc. Investor Litig., No. 650607/2012 (N.Y. Sup. Ct.), representing investors in public and private
 commercial real estate interests against the Empire State Building’s long-term lessees/operators
 regarding a consolidation, REIT formation, and IPO centered around it. These efforts achieved broad
 class-wide relief, including a $55 million cash/securities settlement fund, a $100 million tax benefit from
 restructured terms, remedial disclosures, and deal protections.

 Matt regularly counsels institutional investors, both foreign and domestic, regarding pending or
 contemplated complex litigation in the U.S. He is skilled at identifying potential securities frauds early,
 regularly providing clients with the first opportunity to evaluate and pursue their claims, and he has
 worked extensively with outside investment management firms retained by clients to identify a winning
 set of supporting evidence. When litigation is filed, he fully oversees its conduct and resolution,
 counseling clients throughout every step of the process. These skills have enabled him to sign numerous
 institutional clients for litigation and portfolio monitoring services, including public and private pension
 plans, investment management firms and sponsored investment vehicles, from both the U.S. and
 abroad. Matt’s clients have successfully litigated claims in the BP, McDermott, and Fluor litigations
 discussed above.

 Matt’s signed clients include public and private pension funds and money management firms from the
 U.S. and abroad. He takes great pride in representing union clients. He got his own union card as a
 teenager (United Food & Commercial Workers International Union, Local 371), following in the footsteps
 of his grandfather (International Brotherhood of Teamsters, Local 560).




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 Before joining Pomerantz, Matt worked at a large full-service firm and plaintiff-side boutique firms in
 Boston and Connecticut, litigating complex business disputes and securities, consumer, and employment
 class actions. His pro bono work included securing Social Security benefits for a veteran with non-
 service-related disabilities.

 At the Georgetown University Law Center, Matt made the Dean’s List, competed on and coached award-
 winning teams in the Jessup International Law Moot Court Competition, and was Foreign Publications
 Editor of the Georgetown International Environmental Law Review. He represented Virginia’s Mattaponi
 Tribe, as part of Georgetown’s top-ranked clinical program, in its fight to block a Virginia dam project on
 ancestral burial grounds.

 Matt earned his undergraduate degree from Wesleyan University and has devoted countless post-
 graduate hours to developing and supporting its pre-law programs and counseling its students and
 young alumni interested in the legal profession. Matt served as President of the Wesleyan Lawyers
 Association from 2017-2020.

 Since 2015, Matt has served as volunteer Director of his children’s award-winning elementary school
 and middle school chess clubs, whose 100+ members compete in external tournaments; participate in
 goodwill exchanges to spread the game to other children; won 2018, 2019, and 2020 grade-level and
 divisional State Championships; and were named the Connecticut 2021 Scholastic Chess Clubs of the
 Year.

 Austin P. Van

 Austin focuses his practice on high-profile securities class actions. In 2020, Austin was named by Law360
 in 2020 as an MVP in Securities Litigation, part of an “elite slate of attorneys [who] have distinguished
 themselves from their peers by securing hard-earned successes in high-stakes litigation, complex global
 matters and record-breaking deals.” Only up to six attorneys nationwide are selected each year as MVPs
 in Securities Litigation. Austin was name to Benchmark Litigations “40 and Under Hotlist” in 2020 and
 2021. Austin has been recognized by Lawdragon as one of the top 500 Leading Plaintiff Financial Lawyers
 and has been named as a Recommended Lawyer by The Legal 500. Every year from 2018 through 2021,
 Austin has been honored as a Super Lawyers® Rising Star.

 With Pomerantz Managing Partner Jeremy Lieberman, Austin heads the firm’s representation of lead
 plaintiffs in a securities class action against drug behemoth Mylan N.V. This multi-billion-dollar litigation
 is one of the largest securities class actions pending anywhere. The complaint alleges that Mylan misled
 investors about wide-ranging wrongful conduct in what some estimate to be the largest price-fixing
 conspiracy in U.S. history. Austin devised the central theories of the case and authored all three
 amended complaints in this matter, which has continued to expand. He authored all of lead plaintiffs’
 three successful opposition briefs to defendants’ motions to dismiss, in 2018, 2019, and 2020
 respectively, as well as lead plaintiffs’ successful arguments for class certification in 2019. In April 2020,
 the court rejected the Defendants’ motion to dismiss the third amended complaint in a precedent-
 setting decision concerning scheme liability, and certified a class of investors spanning five years, all
 based on Austin’s arguments. He led fact discovery in the matter, which consisted of review and
 distillation of millions of documents, orchestrated the Class’s thirty fact depositions, and most recently,

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 completed overseeing the Class’s submission of five expert reports, totaling thousands of pages of
 expert disclosures.

 Austin led Pomerantz’s securities class action against TechnipFMC, an oil and gas services provider. He
 uncovered the theory of this case: that TechnipFMC massively overstated its net income in its initial
 registration statement due to its use of incorrect foreign exchange rates. Austin successfully argued at
 oral argument in 2018 that the Court should deny defendants’ motion to dismiss the central claim in the
 matter. In 2019, Austin successfully argued lead plaintiff ’s motion for class certification. He led the class
 through complete preparations for trial. The case settled in 2020 for approximately $20 million.

 Austin led a successful securities class action at Pomerantz against Rockwell Medical, Inc. and served as
 co-lead counsel on the matter with another firm. Austin extensively investigated the facts of this case
 and drafted the operative complaint. At a pre-motion conference for Defendants’ motion to dismiss,
 District Senior Judge Allyn R. Ross stated: “based on what I have reviewed, it is virtually inconceivable to
 me that the consolidated amended complaint could possibly be dismissed on a Rule 12(b)(6) motion or a
 Rule 9(b) motion” and that the proposed motion practice “would be a complete waste of time and
 resources of counsel, of the clients’ money, and my time.” Defendants declined even to move to dismiss
 the complaint and settled the case in 2019 for $3.7 million—a highly favorable settlement for the Class.

 Austin received a J.D. from Yale Law School, where he was an editor of the Yale Law Journal and the Yale
 Journal of International Law. He has a B.A. from Yale University and an M.Sc. from the London School of
 Economics.

 Austin is admitted to practice law in New York and New Jersey; the United States District Courts for the
 Southern and Eastern Districts of New York, the District of New Jersey, the Northern District of Illinois,
 and the Southern District of Texas; and the United States Courts of Appeals for the First and Second
 Circuits.

 Murielle Steven Walsh

 Murielle Steven Walsh joined the Firm in 1998 and was elevated to Partner in 2007. In 2022, Murielle
 was selected to participate on Law360’s Securities Editorial Board. She was named a 2020 Plaintiffs’
 Lawyer Trailblazer by the National Law Journal, an award created to “honor a handful of individuals
 from each practice area that are truly agents of change” and was also honored as a 2020 Plaintiffs’
 Trailblazer by the New York Law Journal. Murielle was honored in 2019, 2020 and 2021 as a Super
 Lawyers® “Top-Rated Securities Litigation Attorney,” a recognition bestowed on 5% of eligible attorneys
 in the New York Metro area. Lawdragon name her a Top Plaintiffs’ Financial Lawyer in 2019 and 2020.

 During her career at Pomerantz, Murielle has prosecuted highly successful securities class action and
 corporate governance cases. She was one of the lead attorneys litigating In re Livent Noteholders’
 Securities Litigation, a securities class action in which she obtained a $36 million judgment against the
 company’s top officers, a ruling which was upheld by the Second Circuit on appeal. Murielle was also
 part of the team litigating EBC I v. Goldman Sachs, where the Firm obtained a landmark ruling from the
 New York Court of Appeals, that underwriters may owe fiduciary duties to their issuer clients in the
 context of a firm-commitment underwriting of an initial public offering.



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 Murielle leads the Firm’s securities class action against Wynn Resorts Ltd., in which Pomerantz is lead
 counsel. The litigation arises from the company’s concealment of a long-running pattern of sexual
 misconduct against Wynn employees by billionaire casino mogul Stephen Wynn, the company’s founder
 and former Chief Executive Officer. In May 2020, the court granted the defendants’ motion to
 dismiss while granting Pomerantz leave to amend. In May 2020, the court granted the defendants’
 motion to dismiss while granting Pomerantz leave to amend its complaint. The defendants moved to
 dismiss the newly amended complaint, but the court denied their motion in part, sustaining claims that
 arose from critical misstatements by the company. The case is now in discovery. Ferris v. Wynn Resorts
 Ltd., No. 18-cv-479 (D. Nev.)

 In a securities class action against Ormat Technologies, Inc., Murielle achieved a $3,750,000 settlement
 on behalf of defrauded investors in January 2021. Ormat’s securities are dual-listed on the NYSE and the
 Tel Aviv Stock Exchange. Murielle persuaded the district court in exercise supplemental jurisdiction in
 order to apply U.S. securities law to the claims in the case, regardless of where investors purchased their
 securities.

 Murielle led the Firm’s ground-breaking litigation that arose from the popular Pokémon Go game, in
 which Pomerantz was lead counsel. Pokémon Go is an “augmented reality” game in which players use
 their smart phones to “catch” Pokémon in real-world surroundings. GPS coordinates provided by
 defendants to gamers included directing the public to private property without the owners’ permission,
 amounting to an alleged mass nuisance. In re Pokémon Go Nuisance, No. 3:16-cv-04300 (N.D. Cal.)

 Murielle was co-lead counsel in Thorpe v. Walter Investment Management Corp., No. 14-cv-20880 (S.D.
 Fla.), a securities fraud class action challenging the defendants’ representations that their lending
 activities were regulatory-compliant, when in fact the company’s key subsidiary engaged in rampant
 violations of federal consumer financial protection laws, subjecting it to various government
 investigations and a pending enforcement action by the CFPB and FTC. In 2016, the Firm obtained a $24
 million settlement on behalf of the class. She was also co-lead counsel in Robb v. Fitbit Inc., No. 16-cv-
 00151 (N.D. Cal.), a securities class action alleging that the defendants misrepresented that their key
 product delivered “highly accurate” heart rate readings when in fact their technology did not
 consistently deliver accurate readings during exercise and its inaccuracy posed serious health risks to
 users of Fitbit’s products. The Firm obtained a $33 million settlement on behalf of the investor class in
 this action.

 In 2018 Murielle, along with then-Senior Partner Jeremy Lieberman, achieved a $3,300,000 settlement
 for the Class in the Firm’s case against Corinthian Colleges, one of the largest for-profit college systems
 in the country, for alleged misrepresentations about its job placement rates, compliance with applicable
 regulations, and enrollment statistics. Pomerantz prevailed in the motion to dismiss the proceedings, a
 particularly noteworthy victory because Chief Judge George King of the Central District of California had
 dismissed two prior lawsuits against Corinthian with similar allegations. Erickson v. Corinthian Colleges,
 Inc., No. 2:13-cv-07466 (C.D. Cal.).

 Murielle serves as a member and on the Executive Committee of the Board of Trustees of the non-profit
 organization Court Appointed Special Advocates for Children (“CASA”) of Monmouth County. She served
 on the Honorary Steering Committee of Equal Rights Advocates (“ERA”), which focuses on and discusses
 specific issues that women face in the legal profession. ERA is an organization that protects and expands


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 economic and educational access and opportunities for women and girls. In the past, Murielle served as
 a member of the editorial board for Class Action Reports, a Solicitor for the Legal Aid Associates
 Campaign, and has been involved in political asylum work with the Association of the Bar of the City of
 New York.

 Murielle serves on the Firm's Anti-Harassment and Discrimination Committee.

 Murielle graduated cum laude from New York Law School in 1996, where she was the recipient of the
 Irving Mariash Scholarship. During law school, Murielle interned with the Kings County District Attorney
 and worked within the mergers and acquisitions group of Sullivan & Cromwell.

 Murielle is admitted to practice in New York; the United States District Court for the Southern District of
 New York; and the United States Courts of Appeals for the Second and Sixth Circuits.

 Tamar A. Weinrib

 Tamar A. Weinrib joined Pomerantz in 2008. She was Of Counsel to the Firm from 2014 through 2018
 and was elevated to Partner in 2019. In 2020, The Legal 500 honored her as a Next Generation Partner.
 Tamar was named a 2018 Rising Star under 40 years of age by Law360, a prestigious honor awarded to a
 select few “top litigators and dealmakers practicing at a level usually seen from veteran attorneys.”
 Tamar has been recognized by Super Lawyers® as a 2021 “Top-Rated Securities Litigation Attorney;” she
 was honored as a New York Metro Rising Star every year from 2014 to 2019.

 In 2019, Tamar and Managing Partner Jeremy Lieberman achieved a $27 million settlement for the Class
 in Strougo v. Barclays PLC, a high-profile securities class action in which Pomerantz was Lead Counsel.
 Plaintiffs alleged that Barclays PLC misled institutional investor clients about the extent of the banking
 giant’s use of so-called “dark pool” trading systems. This case turned on the duty of integrity owed by
 Barclays to its clients. In November 2016, Tamar and Jeremy achieved precedent-setting victories for
 investors, when the Second Circuit Court of Appeals held that direct evidence of price impact is not
 always necessary to demonstrate market efficiency to invoke the presumption of reliance, and that
 defendants seeking to rebut the presumption of reliance must do so by a preponderance of the
 evidence rather than merely meeting a burden of production. In 2018, Tamar successfully opposed
 Defendants’ petition to the Supreme Court for a writ of certiorari.

 In approving the settlement in Strougo v. Barclays PLC in June 2019, Judge Victor Marrero of the
 Southern District of New York stated:

         Let me thank counsel on both sides for the extraordinary work both sides did in bringing
         this matter to a reasonable conclusion. As the parties have indicated, the matter was
         intensely litigated, but it was done in the most extraordinary fashion with cooperation,
         collaboration, and high levels of professionalism on both sides, so I thank you.

 Tamar headed the litigation of In re Delcath Systems, Inc. Securities Litigation, in which Pomerantz
 achieved a settlement of $8,500,000 for the class. She successfully argued before the Second Circuit in In
 re China North East Petroleum Securities Litigation, to reverse the district court’s dismissal of the
 defendants on scienter grounds.


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 Among other securities fraud class actions that Tamar led to successful settlements are KB Partners I,
 L.P. v. Pain Therapeutics, Inc. ($8,500,000); New Oriental Education & Technology Group, Inc.
 ($3,150,000 pending final approval); and Whiteley v. Zynerba Pharmaceuticals Inc. et al. ($4,000,000
 pending final approval).

 Before coming to Pomerantz, Tamar had over three years of experience as a litigation associate in the
 New York office of Clifford Chance US LLP, where she focused on complex commercial litigation. Tamar
 has successfully tried pro bono cases, including two criminal appeals and a housing dispute filed with the
 Human Rights Commission.

 Tamar graduated from Fordham University School of Law in 2004 and while there, won awards for
 successfully competing in and coaching Moot Court competitions.

 Tamar is admitted to practice in New York; the United States District Courts for the Southern and
 Eastern Districts of New York; and the United States Courts of Appeals for the Second, Third, Fourth, and
 Ninth Circuits.

 Michael J. Wernke

 Michael J. Wernke joined Pomerantz as Of Counsel in 2014 and was elevated to Partner in 2015. He was
 named a 2020 Plaintiffs’ Lawyer Trailblazer by the National Law Journal, an award created to “honor a
 handful of individuals from each practice area that are truly agents of change.”

 Michael, along with Managing Partner Jeremy Lieberman, led the litigation in Pirnik v. Fiat Chrysler
 Automobiles N.V. et al., No. 1:15-cv-07199-JMF (S.D.N.Y), in which the Firm, as Lead Counsel, achieved a
 $110 million settlement for the class. This high-profile securities class action alleges that Fiat Chrysler
 concealed from investors that it improperly outfitted its diesel vehicles with “defeat device” software
 designed to cheat NOx emissions regulations in the U.S. and Europe, and that regulators had accused
 Fiat Chrysler of violating the emissions regulations. The Fiat Chrysler recovery provides the class of
 investors with as much as 20% of recoverable damages—an excellent result when compared to
 historical statistics in class action settlements, where typical recoveries for cases of this size are between
 1.6% and 3.3%.

 Michael led the securities class action Zwick Partners, LP v. Quorum Health Corp., et al., No. 3:16-cv-
 2475, achieving a settlement of $18,000,000 for the class in June 2020. The settlement represented
 between 12.7% and 42.9% of estimated recoverable damages. Plaintiff alleged that defendants
 misrepresented to investors the poor prospects of hospitals that the parent company spun off into a
 stand-alone company. In defeating defendants’ motions to dismiss the complaint, Michael successfully
 argued that company from which Quorum was spun off was a “maker” of the false statements even
 though all the alleged false statements concerned only Quorum’s financials and the class involved only
 purchasers of Quorum’s common stock. This was a tremendous victory for plaintiffs, as cases alleging
 false statements of goodwill notoriously struggle to survive motions to dismiss.

 Along with Managing Partner Jeremy Lieberman, Michael leads the Firm’s individual action against
 pharmaceutical giant Teva Pharmaceutical Industries Ltd. and Teva Pharmaceuticals USA, Inc. (together,
 “Teva”), and certain of Teva’s current and former employees and officers, relating to alleged


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 anticompetitive practices in Teva’s sales of generic drugs. Teva is a dual-listed company; the Firm
 represents several Israeli institutional investors who purchased Teva shares on the Tel Aviv Stock
 Exchange. In early 2021, Pomerantz achieved a major victory for global investors when the district court
 agreed to exercise supplemental jurisdiction over the Israeli law claims. Clal Insurance Company Ltd. v.
 Teva Pharmaceutical Industries Ltd.

 In December 2018, Michael, along with Pomerantz Managing Partner Jeremy A. Lieberman, secured a
 $31 million partial settlement with three defendants in In re Libor Based Financial Instruments Antitrust
 Litigation, a closely watched multi-district litigation, which concerns the LIBOR rigging scandal.

 In October 2018, Michael secured a $15 million settlement in In re Symbol Technologies, Inc. Securities
 Litigation, No. 2:05-cv-03923-DRH-AKT (E.D.N.Y.), a securities class action that alleges that, following an
 accounting fraud by prior management, Symbol’s management misled investors about state of its
 internal controls and the Company’s ability to forecast revenues.

 He was Lead Counsel in Thomas v. Magnachip Semiconductor Corp., in which he achieved a $23.5 million
 partial settlement with certain defendants, securing the settlement despite an ongoing investigation by
 the Securities and Exchange Commission and shareholder derivative actions. He played a leading role in
 In re Lumber Liquidators, Inc. Securities Litigation, in which Pomerantz, as Co-Lead Counsel, achieved a
 settlement of $26 million in cash and 1,000,000 shares of Lumber Liquidators common stock for the
 Class. Michael also secured a $7 million settlement (over 30% of the likely recoverable damages) in the
 securities class action Todd v. STAAR Surgical Company, et. al., No. 14-cv-05263-MWF-RZ (C.D. Cal.),
 which alleged that STAAR concealed from investors violations of FDA regulations that threatened the
 approval of STAAR’s long awaited new product.

 In the securities class action In re Atossa Genetics, Inc. Securities Litigation, No. 13-cv-01836-RSM (W.D.
 Wash.), Michael secured a decision by the Ninth Circuit Court of Appeals that reversed the district
 court’s dismissal of the complaint. The Ninth Circuit held that the CEO’s public statements that the
 company’s flagship product had been approved by the FDA were misleading despite the fact that the
 company’s previously filed registration statement stated that that the product did not, at that time,
 require FDA approval.

 During the nine years prior to coming to Pomerantz, Michael was a litigator with Cahill Gordon &
 Reindel LLP, with his primary focus in the securities defense arena, where he represented multinational
 financial institutions and corporations, playing key roles in two of only a handful of securities class
 actions to go to jury verdict since the passage of the PSLRA.

 In 2020 and 2021, Michael was honored as a Super Lawyers® “Top Rated Securities Litigation Attorney.”
 In 2014 and 2015, he was recognized as a Super Lawyers® New York Metro Rising Star.

 Michael received his J.D. from Harvard Law School in 2004. He also holds a B.S. in Mathematics and a
 B.A. in Political Science from Ohio State University, where he graduated summa cum laude.

 He serves on the Firm’s Anti-Harassment and Discrimination Committee.

 Michael is admitted to practice in New York; the United States District Court for the Southern District of
 New York; and the United States Supreme Court.

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                                             Senior Counsel

 Stanley M. Grossman

 Stanley M. Grossman, Senior Counsel, is a former Managing Partner of Pomerantz. Widely recognized as
 a leader in the plaintiffs’ securities bar, he was honored in 2020 with a Lifetime Achievement award by
 the New York Law Journal. Martindale Hubbell awarded Stan its 2021 AV Preeminent Rating®, “given to
 attorneys who are ranked at the highest level of professional excellence for their legal expertise,
 communication skills, and ethical standards by their peers.” Stan was selected by Super Lawyers® as an
 outstanding attorney in the United States for the years 2006 through 2020 and was featured in the New
 York Law Journal article Top Litigators in Securities Field -- A Who’s Who of City’s Leading Courtroom
 Combatants. Lawdragon named Stan a Leading Plaintiff Financial Lawyer in 2019 and 2020. In 2013,
 Brooklyn Law School honored Stan as an Alumnus of the Year.

 Stan has primarily represented plaintiffs in securities and antitrust class actions, including many of those
 listed in the Firm biography. See, e.g., Ross v. Bernhard, 396 U.S. 531 (1970); Rosenfeld v. Black, 445 F.2d
 137 (2d Cir. 1971); Wool v. Tandem Computers, Inc., 818 F.2d 1433 (9th Cir. 1987); and In re Salomon
 Bros. Treasury Litig., 9 F.3d 230 (2d Cir. 1993). In 2008 he appeared before the United States Supreme
 Court to argue that scheme liability is actionable under Section 10(b) and Rule 10b-5(a) and (c). See
 StoneRidge Inv. Partners, LLC v. Sci.-Atlanta, Inc., No. 06-43 (2008). Other cases where he was the Lead
 or Co-Lead Counsel include: In re Salomon Brothers Treasury Litigation, No. 91 Civ. 5471 (S.D.N.Y. 1994)
 ($100 million cash recovery); In re First Executive Corporation Securities Litigation, No. CV-89-7135 (C.D.
 Cal. 1994) ($100 million settlement); and In re Sorbates Direct Purchaser Antitrust Litigation, No. C98-
 4886 (N.D. Cal. 2000) (over $80 million settlement for the class).

 In 1992, Senior Judge Milton Pollack of the Southern District of New York appointed Stan to the
 Executive Committee of counsel charged with allocating to claimants hundreds of millions of dollars
 obtained in settlements with Drexel Burnham & Co. and Michael Milken.

 Many courts have acknowledged the high quality of legal representation provided to investors by Stan.
 In Gartenberg v. Merrill Lynch Asset Management, Inc., No. 79 Civ. 3123 (S.D.N.Y.), where Stan was lead
 trial counsel for plaintiff, Judge Pollack noted at the completion of the trial:

         [I] can fairly say, having remained abreast of the law on the factual and legal matters
         that have been presented, that I know of no case that has been better presented so as
         to give the Court an opportunity to reach a determination, for which the court thanks
         you.

 Stan was also the lead trial attorney in Rauch v. Bilzerian (N.J. Super. Ct.) (directors owed the same duty
 of loyalty to preferred shareholders as common shareholders in a corporate takeover), where the court
 described the Pomerantz team as “exceptionally competent counsel.” He headed the six week trial on
 liability in Walsh v. Northrop Grumman (E.D.N.Y.) (a securities and ERISA class action arising from
 Northrop’s takeover of Grumman), after which a substantial settlement was reached.




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 Stan frequently speaks at law schools and professional organizations. In 2010, he was a panelist on
 Securities Law: Primary Liability for Secondary Actors, sponsored by the Federal Bar Council, and he
 presented Silence Is Golden – Until It Is Deadly: The Fiduciary’s Duty to Disclose, at the Institute of
 American and Talmudic Law. In 2009, Stan was a panelist on a Practicing Law Institute “Hot Topic
 Briefing” entitled StoneRidge - Is There Scheme Liability or Not?

 Stan served on former New York State Comptroller Carl McCall’s Advisory Committee for the NYSE Task
 Force on corporate governance. He is a former president of NASCAT. During his tenure at NASCAT, he
 represented the organization in meetings with the Chairman of the Securities and Exchange Commission
 and before members of Congress and of the Executive Branch concerning legislation that became the
 PSLRA.

 Stan served for three years on the New York City Bar Association’s Committee on Ethics, as well as on
 the Association’s Judiciary Committee. He is actively involved in civic affairs. He headed a task force on
 behalf of the Association, which, after a wide-ranging investigation, made recommendations for the
 future of the City University of New York. He was formerly on the board of the Appleseed Foundation, a
 national public advocacy group.

 Stan is admitted to practice in New York; the United States District Courts for the Southern and Eastern
 Districts of New York, Central District of California, Eastern District of Wisconsin, District of Arizona,
 District of Colorado; the United States Courts of Appeals for the First, Second, Third, Ninth and Eleventh
 Circuits; and the United States Supreme Court.


 Marc I. Gross

 Marc I. Gross has been with Pomerantz LLP for over four decades, serving as its Managing Partner from
 2009 to 2016. During that time frame, Marc led securities lawsuits against SAC Capital (Steven Cohen -
 insider trading); Chesapeake Energy (Aubrey McClendon - insider bail out); Citibank (analyst Jack
 Grubman - AT&T research report upgrade to facilitate underwriting role); Charter Communications (Paul
 Allen - accounting fraud); and numerous others. He also litigated the market efficiency issues in the
 firm’s landmark $3 billion recovery in Petrobras. He is currently Senior Counsel to the firm. Marc has
 been recognized by Super Lawyers® as a “Top-Rated Securities Litigation Attorney” every year from
 2013 through 2021.

 Marc is the President of the Institute of Law and Economic Policy (“ILEP”), which has organized
 symposiums each year where leading academics have presented papers on securities law and consumer
 protection issues. These papers have been cited in over 60 cases, including several in the United States
 Supreme Court. http://www.ilep.org.

 Marc was invited to join the Lawyers Cabinet for the George Washington Law School Complex Litigation
 Center, an institution that brings top academics and practitioners together to identify and develop
 practical solutions for emerging and pressing problems in complex litigation. Members of the Cabinet
 are 100 of the most prominent plaintiff and defense lawyers who are recognized both nationally and
 globally as leaders in complex litigation.




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 Marc has addressed numerous forums in the United States on shareholder-related issues, including ILEP;
 Loyola University Chicago School of Law’s Institute for Investor Protection Conference; the National
 Conference on Public Employee Retirement Systems’ (“NCPERS”) Legislative Conferences; PLI
 conferences on Current Trends in Securities Law; and a panel entitled Enhancing Consistency and
 Predictability in Applying Fraud-on-the-Market Theory, sponsored by the Duke Law School Center for
 Judicial Studies, well as students at NYU and Georgetown Law schools.

 Marc is also valued by foreign investors for his expertise, having addressed the Tel Aviv Institutional
 Investors Forum, the National Association of Pension Funds Conference in Edinburgh, and law students
 at Bar Ilan University in Tel Aviv.

 Among other articles, Marc co-authored, with Jeremy Lieberman, Back to Basic(s): Common Sense
 Trumps Econometrics, N.Y.L.J. (Jan. 8, 2018); Class Certification in a Post-Halliburton II World, 46 Loyola-
 Chicago L.J. 485 (2015); and Loser-Pays - or Whose “Fault” Is It Anyway: A Response to Hensler-Rowe’s
 “Beyond ‘It Just Ain’t Worth It,’” 64 L. & Contemp. Probs. 163 (Duke Law School 2001).

 Marc was honored in 2022 by T’ruah, the Rabbinic Call to Human Rights, for his pro bono work in
 support of the Coalition of Immokalee Workers in Florida in their battle for recognition by
 Wendy’s. Marc brought a lawsuit on behalf of Wendy’s shareholders, arguing that by refusing to join the
 Coalition of Immokalee Workers’ Fair Food Program, the company had flouted industry standards on
 human rights.

 Marc is a graduate of NYU Law ’76 and Columbia College ’73.

 Marc is admitted to practice in New York; the United States District Courts for the Southern and Eastern
 Districts of New York; the United States Courts of Appeals for the First, Second, Eighth, and Ninth
 Circuits; and the United States Supreme Court.

 Patrick V. Dahlstrom

 Patrick Dahlstrom joined Pomerantz as an associate in 1991 and was elevated to Partner in January
 1996. He served as Co-Managing Partner with Jeremy Lieberman in 2017 and 2018 and is now Senior
 Counsel. Patrick heads the Firm’s Chicago office. He was honored as a Super Lawyers® “Top-Rated
 Securities Litigation Attorney” from 2018 – 2021.

 Patrick, a member of the Firm’s Institutional Investor Practice and New Case Groups, has extensive
 experience litigating cases under the PSLRA. He led In re Comverse Technology, Inc. Securities Litigation,
 No. 06-CV-1825 (E.D.N.Y.), in which the Firm, as Lead Counsel, recovered a $225 million settlement for
 the Class – the second-highest ever for a case involving back-dating options, and one of the largest
 recoveries ever from an individual officer-defendant, the company’s founder and former CEO. In
 Comverse, the Firm obtained an important clarification of how courts calculate the “largest financial
 interest” in connection with the selection of a Lead Plaintiff, in a manner consistent with Dura
 Pharmaceuticals, Inc. v. Broudo, 544 U.S. 336 (2005). Judge Garaufis, in approving the settlement,
 lauded Pomerantz: “The court also notes that, throughout this litigation, it has been impressed by Lead
 Counsel’s acumen and diligence. The briefing has been thorough, clear, and convincing, and ... Lead
 Counsel has not taken short cuts or relaxed its efforts at any stage of the litigation.”


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 In DeMarco v. Robertson Stephens Inc., 228 F.R.D. 468 (S.D.N.Y. 2005), Patrick obtained the first class
 certification in a federal securities case involving fraud by analysts.

 Patrick’s extensive experience in litigation under the PSLRA has made him an expert not only at making
 compelling arguments on behalf of Pomerantz’ clients for Lead Plaintiff status, but also in discerning
 weaknesses of competing candidates. In re American Italian Pasta Co. Securities Litigation and Comverse
 are the most recent examples of his success in getting our clients appointed sole Lead Plaintiff despite
 competing motions by numerous impressive institutional clients.

 Patrick was a member of the trial team in In re ICN/Viratek Securities Litigation (S.D.N.Y. 1997), which,
 after trial, settled for $14.5 million. Judge Wood praised the trial team: “[P]laintiffs counsel did a superb
 job here on behalf of the class. ...This was a very hard fought case. You had very able, superb opponents,
 and they put you to your task. ...The trial work was beautifully done and I believe very efficiently done.”

 Patrick’s speaking engagements include interviews by NBC and the CBC regarding securities class
 actions, and among others, a presentation at the November 2009 State Association of County
 Retirement Systems Fall Conference as the featured speaker at the Board Chair/Vice Chair Session
 entitled: “Cleaning Up After the 100 Year Storm. How trustees can protect assets and recover losses
 following the burst of the housing and financial bubbles.”

 Patrick is a 1987 graduate of the Washington College of Law at American University in Washington, D.C.,
 where he was a Dean’s Fellow, Editor in Chief of the Administrative Law Journal, a member of the Moot
 Court Board representing Washington College of Law in the New York County Bar Association’s Antitrust
 Moot Court Competition, and a member of the Vietnam Veterans of America Legal Services/Public
 Interest Law Clinic. Upon graduating, Patrick served as the Pro Se Staff Attorney for the United States
 District Court for the Eastern District of New York and was a law clerk to the Honorable Joan M. Azrack,
 United States Magistrate Judge.

 Patrick is admitted to practice in New York and Illinois; the United States District Courts for the Southern
 and Eastern Districts of New York, Northern District of Illinois, Northern District of Indiana, Eastern
 District of Wisconsin, District of Colorado, and Western District of Pennsylvania; the United States
 Courts of Appeals for the First, Fourth, Sixth, Seventh, Eighth, and Ninth Circuits; and the United States
 Supreme Court.

                                                Of Counsel

 Samuel J. Adams

 Samuel J. Adams became an Associate at Pomerantz in January 2012 and was elevated to Of Counsel to
 the Firm in 2021. He has been recognized as a Super Lawyers® “Rising Star” every year from 2015
 through 2021.

 Sam focuses his practice on corporate governance litigation and has served as a member of the litigation
 team in numerous actions that concluded in successful resolutions for stockholders. He was an integral
 member of the litigation team that secured a $5.6 million settlement on behalf of a class of shareholders


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 of Physicians Formula Holdings, Inc. following an ignored merger offer. In re Physicians Formula Holdings
 Inc. S'holder Litig., C.A. No. 7794-VCL (Del. Ch. Ct.). Sam was also instrumental in achieving a settlement
 in Strougo v. Hollander, C.A. No. 9770-CB (Del. Ch. Ct.) which provided for a 25% price increase for
 members of the class cashed out in the going-private transaction and established that fee-shifting
 bylaws adopted after a challenged transaction do not apply to stockholders affected by the transaction.
 Additionally, he was on the team of Pomerantz attorneys who obtained the elimination of stand-still
 provisions that allowed third parties to bid for Great Wolf Resorts, Inc., resulting in the emergence of a
 third-party bidder and approximately $94 million (57%) in additional merger consideration for Great
 Wolf shareholders. In re Great Wolf Resorts, Inc. S'holder Litig., C.A. No. 7328-VCN (Del. Ch.).

 Sam is a 2009 graduate of the University of Louisville Louis D. Brandeis School of Law. While in law
 school, he was a member of the National Health Law Moot Court Team. He also participated in the Louis
 D. Brandeis American Inn of Court.

 Sam is admitted to practice in New York; and the United States District Courts for the Southern,
 Northern, and Eastern Districts of New York and the Eastern District of Wisconsin.

 Ari Y. Basser

 Ari Y. Basser joined Pomerantz as an associate in April 2019 and was elevated to Of Counsel in January
 2022. He focuses his practice on strategic consumer litigation by representing consumers in unfair
 competition, fraud, false advertising, and auto defect actions that recover monetary and injunctive relief
 on behalf of class members while also advocating for important consumer rights. Ari has successfully
 prosecuted claims involving California’s Unfair Competition Law, California’s Consumers Legal Remedies
 Act, the Song-Beverly Consumer Warranty Act, and the Magnusson-Moss Warranty Act.

 Prior to joining Pomerantz, Ari was an associate at major litigation law firms in Los Angeles. Ari also
 worked as a Law Clerk in the Economic Crimes Unit of the Santa Clara County Office of the District
 Attorney. Ari has litigated antitrust violations, product defect matters, and a variety of fraud and
 misrepresentation cases brought under state and federal consumer protection statutes involving unfair
 competition and false advertising. He has also been deputized in private attorneys general enforcement
 actions to recover civil penalties from corporations, on behalf of the State of California, for violations of
 the Labor Code.

 Ari is a contributing author to the Competition Law Journal, the official publication of the Antitrust, UCL,
 and Privacy Section of the State Bar of California, where he has examined trends in antitrust litigation
 and the regulatory authority of the Federal Trade Commission.

 Ari received dual degrees in Economics and Psychology from the University of California, San Diego in
 2004. He earned his Juris Doctor in 2010 from Santa Clara University School of Law.

 Brian Calandra

 Brian Calandra joined Pomerantz in June 2019 as Of Counsel. He has extensive experience in securities,
 antitrust, complex commercial, and white-collar matters in federal and state courts nationwide. Brian


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 has represented issuers, underwriters, and individuals in securities class actions involving the financial,
 telecommunications, real estate, and pharmaceutical industries. He has also represented financial
 institutions in antitrust class actions concerning foreign exchange; supra-national, sub-sovereign and
 agency bonds; bonds issued by the government of Mexico; and credit card fees. In 2021, Brian was
 honored as a Super Lawyers® “Top-Rated Securities Litigation Attorney”.

 Brian has written multiple times on developments in securities law and other topics, including co-
 authoring an overview of insider trading law and enforcement for Practical Compliance & Risk
 Management for the Securities Industry, co-authoring an analysis of anti-corruption compliance risks
 posed by sovereign wealth funds for Risk & Compliance, and authoring an analysis of the effects of the
 2005 Bankruptcy Abuse Prevention and Consumer Protection Act on women in bankruptcy for the
 Women’s Rights Law Reporter.

 Before joining Pomerantz, Brian was a litigation associate at Shearman & Sterling LLP. Brian graduated
 from Rutgers School of Law-Newark in 2009, cum laude, Order of the Coif. While at Rutgers, Brian was
 co-editor-in-chief of the Women’s Rights Law Reporter and received the Justice Henry E. Ackerson Prize
 for Distinction in Legal Skills and the Carol Russ Memorial Prize for Distinction in Promoting Women’s
 Rights.

 Brian is admitted to practice in New York; the United States District Courts for the Southern, Eastern,
 and Northern Districts of New York; the District of New Jersey, and the Eastern District of Wisconsin; the
 United States Courts of Appeals for the First, Third, Fifth and Tenth Circuits; and the United States
 Supreme Court.

 Cheryl D. Hamer

 Cheryl D. Hamer joined Pomerantz in 2003 as an associate, served as a partner from 2007 to 2015 and is
 now Of Counsel to the Firm. She is based in San Diego.

 Before joining Pomerantz, she served as counsel to nationally known securities class action law firms
 focusing on the protection of investors rights. In private practice for over 20 years, she has litigated, at
 both state and federal levels, Racketeer Influenced and Corrupt Organizations, Continuing Criminal
 Enterprise, death penalty and civil rights cases and grand jury representation. She has authored
 numerous criminal writs and appeals.

 Cheryl was an Adjunct Professor at American University, Washington College of Law from 2010-2011
 and served as a pro bono attorney for the Mid-Atlantic Innocence Project. She was an Adjunct Professor
 at Pace University, Dyson College of Arts and Sciences, Criminal Justice Program and The Graduate
 School of Public Administration from 1996-1998. She has served on numerous non-profit boards of
 directors, including Shelter From The Storm, the Native American Preparatory School and the Southern
 California Coalition on Battered Women, for which she received a community service award.

 Cheryl has been a member of the Litigation and Individual Rights and Responsibilities Sections of the
 American Bar Association, the Corporation, Finance & Securities Law and Criminal Law and Individual
 Rights Sections of the District of Columbia Bar, the Litigation and International Law Sections of the
 California State Bar, and the National Association of Public Pension Attorneys (NAPPA) and represents
 the Firm as a member of the Council of Institutional Investors (CII), the National Association of State

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 Treasurers (NAST), the National Conference on Public Employees Retirement Systems (NCPERS), the
 International Foundation of Employee Benefit Plans (IFEBP), the State Association of County Retirement
 Systems (SACRS), the California Association of Public Retirement Systems (CALAPRS) and The Association
 of Canadian Pension Management (ACPM/ACARR).

 Cheryl is a 1973 graduate of Columbia University and a 1983 graduate of Lincoln University Law School.
 She studied tax law at Golden Gate University and holds a Certificate in Journalism from New York
 University and a Certificate in Photography: Images and Techniques from The University of California
 San Diego.

 Omar Jafri

 Omar Jafri became associated with Pomerantz in April 2016 and was elevated to Of Counsel in January
 2021. Omar was honored as a 2021 Rising Star of the Plaintiffs’ Bar by the National Law Journal.

 Omar played an integral role in In re Juno Therapeutics, Inc. Securities Litigation, in which the Firm, as
 Lead Counsel, achieved a $24 million settlement for the Class in 2018. Omar also played an integral role
 where Pomerantz was Lead or Co-Lead Counsel in In re Aveo Pharmaceuticals, Inc. Securities Litigation
 ($18 million settlement, which was more than four times larger than the SEC’s fair fund recovery in its
 parallel litigation); Sudunagunta v. NantKwest, Inc. ($12 million settlement); Cooper v. Thoratec
 Corporation et. al. ($11.9 million settlement); Thomas v. MagnaChip Semiconductor Corp. Securities
 Litigation ($6.2 million settlement with majority shareholder, Avenue Capital); and In re Sequans
 Communications S.A. Securities Litigation ($2.75 million settlement). Omar currently plays a key role in
 the Firm’s representation of investors in connection with several complex cases that involve billions of
 dollars in damages. In 2021, Omar was recognized by Super Lawyers® as a Rising Star in Securities
 Litigation.

 During the last several years, Omar has litigated major disputes on behalf of institutional investors
 arising out of the credit crisis, including disputes relating to Collateralized Debt Obligations, Residential
 Mortgage-Backed Securities, Credit Default Swaps and other complex financial investments. He also has
 provided pro bono representation to several individuals charged with first-degree murder and
 attempted murder in the State and Federal courts of Illinois.

 Before joining Pomerantz LLP, Omar was a law clerk to Judge William S. Duffey, Jr. of the United States
 District Court for the Northern District of Georgia. He was also an associate at Jenner & Block LLP’s
 Chicago Office, where he represented clients in a wide variety of matters, including securities litigation,
 complex commercial litigation, white collar criminal defense, and internal investigations.

 Omar graduated, magna cum laude and Order of the Coif, from the University of Illinois College of Law,
 where he was a Harno Scholar and a recipient of the Rickert Award for Excellence in Advocacy. He
 received his B.A. from the University of Texas at Austin, where he was on the Dean’s Honor List and the
 University Honors List.

 Omar is admitted to practice in Illinois; the United States District Courts for the Northern District of
 Illinois and the Northern District of Indiana; and the United States Courts of Appeals for the First, Fifth,
 and Ninth Circuits.


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 Louis C. Ludwig

 Louis C. Ludwig joined Pomerantz in April 2012 and was elevated to Of Counsel in 2019. He has been
 honored as a 2016 and 2017 Super Lawyers® Rising Star and as a 2018 and 2019 Super Lawyers® Top-
 Rated Securities Litigation Attorney.

 Louis focuses his practice on securities litigation, and has served as a member of the litigation team in
 multiple actions that concluded in successful settlements for the Class, including Satterfield v. Lime
 Energy Co., (N.D. Ill.); Blitz v. AgFeed Industries, Inc. (M.D. Tenn.); Frater v. Hemispherx Biopharma, Inc.
 (E.D. Pa.); Bruce v. Suntech Power Holdings Co. (N.D. Cal.); In re: Groupon, Inc. Securities Litigation (N.D.
 Ill.); Flynn v. Sientra, Inc. (C.D. Cal.); Thomas v. MagnaChip Semiconductor Corp. (N.D. Cal.); In re: AVEO
 Pharmaceuticals, Inc. Securities Litigation (N.D. Cal.); and In re: Akorn, Inc. Securities Litigation (N.D. Ill.).

 Louis graduated from Rutgers University School of Law in 2007, where he was a Dean’s Law Scholarship
 Recipient. He served as a law clerk to the Honorable Arthur Bergman, Superior Court of New Jersey.
 Prior to joining Pomerantz, Louis specialized in litigating consumer protection class actions at Bock &
 Hatch LLC in Chicago, Illinois.

 Louis is admitted to practice in New Jersey and Illinois; the United States District Courts for the District
 of New Jersey and the Northern District of Illinois; and the United States Courts of Appeals for the
 Seventh and Ninth Circuits.

 Jonathan D. Park

 Jonathan D. Park joined Pomerantz as Of Counsel in April 2022. Prior to joining Pomerantz, he was
 associated with a prominent plaintiff-side litigation firm, where he represented clients in securities and
 investment litigation. He has been recognized as a Super Lawyers® Rising Star every year from 2017
 through 2021.

 Jonathan focuses his practice on securities litigation. He was a key member of the litigation team that
 obtained $19 million for the class in In re Synchronoss Technologies, Inc. Securities Litigation, and he
 represented investors in In re JPMorgan Chase & Co. Securities Litigation, which arose from the “London
 Whale” scandal and was settled for $150 million. He has also represented investors in opt-out securities
 actions against pharmaceutical manufacturers and other companies.

 Jonathan also has experience representing investors in breach of contract actions. He was a key member
 of the team representing institutional investors injured by the early redemption of bonds issued by
 CoBank, ACB and AgriBank, FCB. In the litigation against CoBank, the plaintiffs secured a summary
 judgment ruling on liability, and in the litigation against AgriBank, the plaintiffs defeated a motion to
 dismiss, permitting the claims to proceed though the plaintiffs were beneficial owners and not record
 holders of the bonds at issue. Both cases were resolved on confidential terms.

 At the New York City Bar Association, Jonathan has served on the Task Force on Puerto Rico, the New
 Lawyers Council, and the International Human Rights Committee. He also served on the board of his
 non-profit running club, the Dashing Whippets Running Team.


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 Jonathan earned his J.D. in 2013 from Fordham University School of Law, where he served on the
 school’s Moot Court Board as the Editor of the Jessup International Law Competition Team. During law
 school, he was a Crowley Scholar in International Human Rights, received the Archibald R. Murray Public
 Service Award, and interned with a refugee law project in Cairo, Egypt. He received a B.A. in 2006 from
 Vassar College, where he majored in Africana Studies.

 Lesley Portnoy

 Lesley Portnoy joined Pomerantz as Of Counsel in January 2020, bringing to the Firm more than a
 decade of experience representing investors and consumers in recovering losses caused by corporate
 fraud and wrongdoing. Lesley is based in Los Angeles.

 Lesley has assisted in the recovery of billions of dollars on behalf of aggrieved investors, including the
 victims of the Bernard M. Madoff bankruptcy. Courts throughout the United States have appointed him
 as Lead Counsel to represent investors in securities fraud class actions. Lesley has been recognized as a
 Super Lawyers® Rising Star every year from 2017 through 2021.

 As co-Lead Counsel with Pomerantz in In re Yahoo! Inc. Sec. Litig., a high-profile class action litigation
 against Yahoo! Inc., Lesley helped achieve an $80 million settlement for the Class in 2018. The case
 involved the biggest data breaches in U.S. history, in which over 3 billion Yahoo accounts were
 compromised.

 Other securities fraud cases that Lesley successfully litigated include Parmelee v. Santander Consumer
 USA Holdings Inc.; In re Fifth Street Asset Management, Inc. Sec. Litig.; In re ITT Educational Services, Inc.
 Sec. Litig.; In re Penn West Petroleum Ltd. Sec. Litig.; Elkin v. Walter Investment Management Corp.; In re
 CytRx Corporation Sec. Litig.; Carter v. United Development Funding IV; and In re Akorn, Inc. Sec. Litig.

 Lesley received his B.A. in 2004 from the University of Pennsylvania. In 2009, he simultaneously received
 his JD magna cum laude from New York Law School and his Master’s of Business Administration from
 City University of New York. At New York Law School, Lesley was on the Dean’s List-High Honors and an
 Articles Editor for the New York Law School Law Review.

 Lesley is admitted to practice in New York and California; the United States District Courts for the
 Southern and Eastern Districts of New York, the Central, Northern, and Southern Districts of California
 and the Northern District of Texas; and the United States Court of Appeals for the Second Circuit.

 Jennifer Banner Sobers

 Jennifer Banner Sobers is Of Counsel to the Firm.

 In 2021, Jennifer was honored as a Super Lawyers® “Top-Rated Securities Litigation Attorney”. She was
 also named a 2020 Rising Star by Super Lawyers®, Law360, and the New York Law Journal, all separate
 and highly competitive awards that honor attorneys under 40 whose legal accomplishments transcend
 their age. After a rigorous nomination and vetting process, Jennifer was honored in 2019 and 2020 as a
 member of the National Black Lawyers Top 100, an elite network of the top 100 African American
 attorneys from each state.


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 Jennifer played an integral role on the team litigating In re Petrobras Securities Litigation, in the
 Southern District of New York, a securities class action arising from a multi-billion-dollar kickback and
 bribery scheme involving Brazil’s largest oil company, Petróleo Brasileiro S.A. - Petrobras. The Firm, as
 sole Lead Counsel, achieved a historic $3 billion settlement on behalf of investors in Petrobras securities.
 Among Jennifer’ contributions to the team’s success were: managing the entire third-party discovery in
 the United States, which resulted in the discovery of key documents and witnesses; deposing several
 underwriter bank witnesses; drafting portions of Plaintiffs’ amended complaints that withstood motions
 to dismiss the claims and Plaintiffs’ successful opposition to Defendants’ appeal in the Second Circuit,
 which resulted in precedential rulings, including the Court rejecting the heightened ascertainability
 requirement for obtaining class certification that had been imposed by other circuit courts; and second
 chaired argument in the Second Circuit that successfully led to the Court upholding the award of
 sanctions against a professional objector challenging the integrity of the settlement.

 Jennifer played a leading role in In re Toronto-Dominion Bank Securities Litigation, an action in the
 District of New Jersey alleging a multi-year fraud arising from underlying retail banking misconduct by
 one of Canada’s largest banks that was revealed by investigative news reports. Jennifer undertook
 significant work drafting the briefing to oppose Defendants’ motion to dismiss the claims, which the
 Court denied. She oversaw the discovery in the action, which included, among other things, heading the
 complicated process of obtaining documents in Canada and being a principal drafter of the motion to
 partially lift the PSLRA stay in order to obtain discovery. Jennifer successfully presented oral argument
 which led to the Court approval of a $13.25 million class-wide settlement.

 U.S. District Judge Noel L. Hillman, in approving the Toronto-Dominion Bank settlement, stated, “I
 commend counsel on both sides for their hard work, their very comprehensive and thoughtful
 submissions during the motion practice aspect of this case. I paused on it because it was a hard case. I
 paused on it because the lawyering was so good. So, I appreciate from both sides your efforts.” He
 added, “It’s clear to me that this was comprehensive, extensive, thoughtful, meaningful litigation
 leading up to the settlement.” Singling out Pomerantz’s role as lead counsel, the judge also said, “This
 settlement appears to have been obtained through the hard work of the Pomerantz firm… It was
 through their efforts and not piggybacking on any other work that resulted in this settlement.”

 Jennifer was a key member of the team litigating individual securities actions against BP p.l.c. in the
 Northern District of Texas on behalf of institutional investors in BP p.l.c. to recover losses in BP’s
 common stock (which trades on the London Stock Exchange), arising from BP’s 2010 Gulf oil spill. The
 actions were resolved in 2021 in a confidential, favorable monetary settlement for all 35 Firm clients.

 Jennifer is a lead litigator in Crutchfield v. Match Group, Inc., pending. Jennifer is also a key member of
 the litigation teams of other nationwide securities class action cases, including: In re Ubiquiti Networks,
 Inc. Sec. Litig., an action in the Southern District of New York, for which Jennifer was one of the principal
 drafters of the amended complaint—the strength of which led the Court to deny permission to the
 defendants to file a formal motion to dismiss it—which secured a court-approved $15 million class-wide
 settlement; In re KaloBios Pharmaceuticals Inc. Securities Litigation, an action in the Northern District of
 California, which successfully secured settlements from the bankrupt company and its jailed CEO worth
 over $3.25 million for the Class that were approved by the Court as well as the bankruptcy court; Perez
 v. Higher One Holdings, Inc., an action in the District of Connecticut, for which Jennifer was one of the
 principal drafters of the successful opposition to Defendants’ motion to dismiss, and which secured a

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 court-approved $7.5 million class-wide settlement; Edwards v. McDermott Int’l, Inc. pending in the
 Southern District of Texas; Chun v. Fluor Corp. pending in the Northern District of Texas; and Kendall v.
 Odonate Therapeutics, Inc., pending in the Southern District of California.

 Prior to joining Pomerantz, Jennifer was an associate with a prominent law firm in New York where her
 practice focused on complex commercial litigation, including securities law and accountants’ liability. An
 advocate of pro bono representation, Jennifer earned the Empire State Counsel honorary designation
 from the New York State Bar Association and received an award from New York Lawyers for the Public
 Interest for her pro bono work.

 Jennifer received her B.A. from Harvard University (with honors), where she was on the Dean’s List, a
 Ron Brown Scholar, and a recipient of the Harvard College Scholarship. She received her J.D. from
 University of Virginia School of Law where she was a participant in the Lile Moot Court Competition and
 was recognized for her pro bono service.

 She is a member of the Securities Litigation and Public Service Committees of the Federal Bar Council,
 and the New York City Bar Association.

 Jennifer is admitted to practice in New York; the United States District Court for the Southern and
 Eastern Districts of New York; and the United States Courts of Appeals for the Second and Ninth Circuits.

 Nicolas Tatin

 French lawyer Nicolas Tatin joined Pomerantz in April 2017 as Of Counsel. He heads the Firm’s Paris
 office and serves as its Director-Business Development Consultant for France, Benelux, Monaco and
 Switzerland. Nicolas advises institutional investors in the European Union on how best to evaluate losses
 to their investment portfolios attributable to financial misconduct, and how best to maximize their
 potential recoveries in U.S. and international securities litigations.

 Nicolas was previously a financial lawyer at ERAFP, France’s €24bn pension and retirement fund for civil
 servants, where he provided legal advice on the selection of management companies and the
 implementation of mandates entrusted to them by ERAFP.

 Nicolas began his career at Natixis Asset Management, before joining BNP Paribas Investment Partners,
 where he developed expertise in the legal structuring of investment funds and acquired a global and
 cross-functional approach to the asset management industry.

 Nicolas graduated in International law and received an MBA from IAE Paris, the Sorbonne Graduate
 Business School.

                                                Associates

 Daryoush Behbood
 Daryoush joined Pomerantz as an Associate in 2019. He focuses his practice on corporate governance
 litigation. In 2021, Daryoush was named a Rising Star of the Plaintiffs Bar by National Law Journal’s Elite
 Trial Lawyers (ALM). In 2021 and 2022, he was named a New York Metro Super Lawyers Rising Star.


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 Daryoush earned his Bachelor of Business Administration in Marketing from the University of Texas at
 Austin in 2012. There, he honed and developed his understanding of complex business matters and
 procedure.

 In 2015, Daryoush graduated with honors from the University of Texas School of Law. While in law
 school, he was a member of the 2L and 3L Interscholastic Mock Trial Teams as well as the Board of
 Advocates. As a member of Texas Law’s rigorous Advocacy Program, Daryoush developed the trial and
 litigation skills necessary to handle even the most complex and demanding of cases. During his final
 year, Daryoush won the Lone Star Classic National Mock Trial Championship and was one of only ten
 graduates from Texas Law’s class of 2015 to be inducted into the Order of Barristers, an organization
 recognizing a select few graduating law students who demonstrated outstanding ability in the
 preparation and presentation of mock trial and moot appellate argument.

 Following graduation, Daryoush clerked for the Fourteenth Court of Appeals, where he helped the
 Justices of the Court research and analyze complex criminal and civil cases.

 Prior to joining Pomerantz, Daryoush was an associate at law firms in Texas and New York, where his
 practice included commercial and business litigation in both state and federal courts.

 Daryoush is admitted to practice in New York, Texas, New Jersey, and Washington D.C.

 Brandon M. Cordovi

 Brandon M. Cordovi focuses his practice on securities litigation.

 Prior to joining Pomerantz, Brandon was an associate at a law firm in New York that specializes in the
 defense of insurance claims. Brandon’s practice focused on the defense of transportation, premises and
 construction liability matters.

 Brandon earned his J.D. in 2018 from Fordham University School of Law, where he served on the Moot
 Court Board and was the recipient of a merit-based scholarship. While at Fordham Law, Brandon
 participated in the Securities Litigation and Arbitration Clinic, where he prepared for the negotiation and
 arbitration of claims brought on behalf of clients with limited resources. During his second summer of
 law school, Brandon was a summer associate at a major plaintiffs securities firm.

 Brandon earned his B.S. from the University of Delaware where he double-majored in Sport
 Management and Marketing.

 Brandon is admitted to practice in New York and New Jersey.




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 Jessica N. Dell

 Jessica Dell focuses her practice on securities litigation.

 She has worked on dozens of cases at Pomerantz, including the Firm’s securities fraud lawsuits arising
 from BP’s 2010 Gulf oil spill, pending in Multidistrict Litigation. Jessica has expertise in
 managing discovery and a nose for investigating complex fraud across many sectors, including
 pharmaceuticals, medical devices, and data security. True to her roots in public interest law, she
 has also worked in complex pro bono class action litigation at Pomerantz.

 Jessica graduated from CUNY School of Law in 2005. She was the recipient of an Everett fellowship for
 her work at Human Rights Watch. She also interned at the Urban Justice Center and National Advocates
 for Pregnant Women. While in the CUNY clinical program, she represented survivors of domestic
 violence facing deportation and successfully petitioned under the Violence Against Women Act. She also
 successfully petitioned for the release of survivors incarcerated as drug mules in Central America.
 After Hurricane Katrina, Jessica traveled to Louisiana to aid emergency efforts to reunite families and
 restore legal process for persons lost in the prison system weeks after the flood.

 Jessica is a member of the New York City and State Bar Associations and the National Lawyers Guild.

 Dolgora Dorzhieva

 Dolgora Dorzhieva focuses her practice on securities litigation. In 2022, she was named a New York
 Metro Super Lawyers Rising Star.

 Prior to joining Pomerantz, Dolgora was an associate at a major plaintiffs firm, where her practice
 focused on consumer fraud litigation.

 Dolgora earned her J.D. in 2015 from the University of California, Berkeley, School of Law, where she
 served as an Executive Editor of the California Law Review. In 2010, she graduated summa cum laude,
 Phi Beta Kappa from City College of New York.

 Following graduation from law school, she clerked for the Honorable Edward M. Chen in the United
 States District Court for the Northern District of California.

 Dolgora is admitted to practice in New York; the United States District Courts for the Southern and
 Eastern Districts of New York; and the United States Court of Appeals for the Second Circuit.

 Dean P. Ferrogari

 Dean P. Ferrogari focuses his practice on securities litigation.

 Dean earned his Juris Doctor in 2020 from Brooklyn Law School, where he served as an Associate
 Managing Editor for the Brooklyn Law Review. While in law school, Dean was initiated into the
 International Legal Honor Society of Phi Delta Phi and was an extern for the Brooklyn Volunteer Lawyers


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 Project. He was recognized by the New York State Unified Court System’s Office for Justice Initiatives for
 his distinguished service in assisting disadvantaged civil litigants in obtaining due process in consumer
 credit actions. Dean also authored the publication “The Dark Web: A Symbol of Freedom Not
 Cybercrime,” New York County Lawyers Association CLE Institute, Security in a Cyber World: Whistle
 Blowers, Cyber Threats, Domestic Terrorism, Financial Fraud, Policy by Twitter … and the Evolving Role
 of the Attorney and Firm, Oct. 4, 2019, at 321.

 Dean earned his B.A. from the University of Maryland, where he majored in Economics and was
 awarded the President’s Transfer Scholarship.

 Dean is admitted to practice in the United States Districts Courts for the Southern and Eastern Districts
 of New York.

 James M. LoPiano

 James M. LoPiano focuses his practice on securities litigation.

 Prior to joining Pomerantz, James served as a Fellow at Lincoln Square Legal Services, Inc., a non-profit
 law firm run by faculty of Fordham University School of Law.

 James earned his J.D. in 2018 from Fordham University School of Law, where he was awarded the
 Archibald R. Murray Public Service Award, cum laude, and merit-based scholarship. While in law school,
 James served as Senior Notes and Articles Editor of the Fordham Intellectual Property, Media and
 Entertainment Law Journal. James also completed a legal internship at Lincoln Square Legal Services,
 Inc.’s Samuelson-Glushko Intellectual Property and Information Law Clinic, where he counseled clients
 and worked on matters related to Freedom of Information Act litigation, trademarks, and copyrights. As
 part of his internship, James was granted temporary permission to appear before the United States
 Patent and Trademark Office for trademark-related matters. Additionally, James completed both a legal
 externship and legal internship with the Authors Guild. James also served as a judicial intern to the
 Honorable Stephen A. Bucaria in the Nassau County Supreme Court, Commercial Division, of the State of
 New York, where he drafted legal memoranda on summary judgment motions, including one novel issue
 pertaining to whether certain service fees charged by online travel companies were commingled with
 county taxes.

 James earned his B.A. from Stony Brook University, where he double-majored in English and Cinema and
 Cultural Studies, completed the English Honors Program, and was inducted into the Stony Brook
 University chapter of the International English Honors Society. Additionally, James earned the
 university’s Thomas Rogers Award, given to one undergraduate student each year for the best analytical
 paper in an English course.
 James has authored several publications over the course of his legal career, including “Public Fora
 Purpose: Analyzing Viewpoint Discrimination on the President’s Twitter Account,” Note, 28 FORDHAM
 INTELL. PROP. MEDIA & ENT. L.J. 511 (2018); “Lessons Abroad: How Access Copyright v. York University
 Helped End Canada’s Educational Pirating Regime,” Legal Watch, Authors Guild Fall 2017/Winter 2018
 Bulletin; and “International News: Proposal for New EU Copyright Directive and India High Court’s
 Educational Photocopy Decision,” Legal Watch, Authors Guild Summer 2017 Bulletin.




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 James is admitted to practice in New York and the United States District Courts for the Southern and
 Eastern Districts of New York.

 Lauren K. Molinaro

 Lauren K. Molinaro focuses her practice on securities litigation.

 Lauren earned her J.D. in 2021 from Fordham University School of Law, where was a staff editor for the
 Fordham International Law Journal. She was awarded the Archibald R. Murray Award for demonstrable
 commitment to public service and was the recipient of a merit-based scholarship. Lauren served as a
 judicial intern to the Honorable Gerald Lebovits of the New York State Supreme Court. She also
 completed an internship at the Law Reform Commission of Ireland in Dublin, Ireland, where she
 performed research on knowledge or belief concerning consent in Ireland’s rape law. The law was
 subsequently amended to raise the threshold for consent.

 Lauren earned her B.A. from the University of Wisconsin-Madison where she double-majored in English
 Literature and Communications – Radio, Television, and Film.

 Brian P. O’Connell

 Brian P. O’Connell focuses his practice on securities and financial services litigation.

 Prior to joining Pomerantz in its Chicago office, Brian was an associate at a Cafferty Clobes Meriwether &
 Sprengel LLP, where he specialized in antitrust and commodity futures litigation. Brian has successfully
 litigated complex class actions involving manipulation of futures and options contracts. Brian also
 previously worked at the Financial Regulatory Authority (FINRA), focusing on options trading regulation.
 Following law school, Brian was a legal fellow at the chambers of Judge Marvin E. Aspen in the United
 States District Court for the Northern District of Illinois.

 Brian is passionate about finance and securities law, having previously interned for the Chicago Board
 Options Exchange and for Susquehanna International Group. Brian serves as Vice Chair of the Chicago
 Bar Association Securities Law Committee.

 Brian earned his Juris Doctor from Northwestern University Pritzker School of Law. During his time
 there, he had the opportunity to work at the Center on Wrongful Convictions, where he argued in court
 on behalf of a client serving a life sentence and later exonerated. Brian also served as Executive Articles
 Editor on the Journal of International Human Rights Law and as a teaching assistant for the
 Northwestern Center on Negotiation and Mediation.

 A graduate of Stanford University, Brian majored in Political Science and minored in Economics. During
 his senior year, he was Editor-in-Chief of The Stanford Review, where he had previously been a Features
 Editor and a staff writer.

 Brian is admitted to practice in Illinois and California, the United States District Courts for the Northern
 District of Illinois, and the Northern and Central Districts of California.


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 Thomas H. Przybylowski

 Thomas H. Przybylowski focuses his practice on securities litigation.

 Prior to joining Pomerantz, Thomas was an associate at a large New York law firm, where his practice
 focused on commercial and securities litigation, and regulatory investigations. In 2020 and 2021,
 Thomas was honored as a Super Lawyers® Rising Star.

 Thomas earned his J.D. in 2017 from the Georgetown University Law Center. While in law school,
 Thomas served as a Notes Editor for the Georgetown Journal of Legal Ethics and authored the
 publication “A Man of Genius Makes No Mistakes: Judicial Civility and the Ethics of the Opinion,” Note,
 29 Geo. J. Legal Ethics 1257 (2016). Thomas earned his B.A. from Lafayette College in 2014, where he
 double majored in English and Philosophy.

 Thomas is admitted to practice in New York and New Jersey, and the United States District Courts for
 the Eastern and Southern Districts of New York and the District of New Jersey.

 Elina Rakhlin

 Elina Rakhlin focuses her practice on securities litigation. Prior to joining Pomerantz, Elina was an
 associate at a major complex-litigation practice, focused on class action, mass tort and commercial
 matters.

 Elina earned her J.D. in 2017 from the Benjamin N. Cardozo School of Law, where she served as an
 Acquisitions Editor for the Cardozo Arts & Entertainment Law Journal. In 2014, she received her
 undergraduate degree from Baruch College, where she double majored in English and Political Science.

 While in law school, she was an intern in the Enforcement Division of the U.S. Securities and Exchange
 Commission and in the Bureau of Consumer Protection of the Federal Trade Commission. Elina was also
 selected for the Alexander Fellows Judicial Clerkship where she served as a law clerk to the Honorable
 Jack B. Weinstein of the United States District Court for the Eastern District of New York.

 Elina is admitted to practice in New York and the United States District Court for the Southern District of
 New York.

 Villi Shteyn

 Villi Shteyn focuses his practice on securities litigation.

 Villi worked on individual securities lawsuits concerning BP’s 2010 Gulf of Mexico oil spill, which
 proceeded in In re BP p.l.c. Secs Litig., No. 4:10-md-2185 (S.D. Tex.) and were resolved in 2021 in a
 confidential, favorable monetary settlement for all 35 firm clients, including public private pension
 funds, money management firms, partnerships, and investment trusts from U.S., Canada, the U.K.,
 France, and the Netherlands, and Australia. He also worked on a successful 2021 settlement for
 investors in a case against Chinese company ChinaCache.



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 Villi is currently pursing claims against Deutsche Bank for its lending activities to disgraced financier
 Jeffrey Epstein and is involved in the Firm’s class action litigation against Arconic, arising from the
 deadliest U.K. fire in more than a century. He is also representing investors in a case against AT&T for
 widespread fraud relating to their rollout of DirecTVNow, and against Frutarom for fraud related to
 widespread bribery in Russia and Ukraine. He also represents Safra Bank in a class action against
 Samarco Mineração S.A., in connection with Fundao dam-burst disaster, which is widely regarded as the
 worst environmental disaster in Brazil’s history. He is also representing investors against Recro Pharma
 in relation to their non-opioid pain-relief product IV Meloxicam, and against online education companies
 2U and K12. Villi also worked on a pending consumer class action against Apple Inc. in relation to alleged
 slowdowns of the iPhone product.

 Before joining Pomerantz, Villi was employed by a boutique patent firm, where he worked on patent
 validity issues in the wake of the landmark Alice decision and helped construct international patent
 maintenance tools for clients and assisted in pursuing injunctive relief for a patent-holder client against
 a large tech company.

 Villi was recently recognized as a 2021 Super Lawyers® Rising Star.

 Villi graduated from The University of Chicago Law School (J.D., 2017). In 2014, he graduated summa
 cum laude from Baruch College with a Bachelor of Science in Public Affairs.

 Villi is admitted to practice in New York, and the United States District Courts for the Southern District of
 New York and the Eastern District of New York, and the United States Court of Appeals for the Second
 Circuit.

 Christopher Tourek

 Christopher focuses his practice on securities litigation.

 Prior to joining Pomerantz in its Chicago office, Christopher was an associate at a prominent complex-
 litigation firm and specialized in consumer protection, antitrust, and securities litigation. Christopher has
 successfully litigated securities fraud, antitrust violations, and consumer protection violations on behalf
 of plaintiffs in state and federal court. His litigation experience has led to his being honored as a Super
 Lawyers® Rising Star in the area of Mass Torts litigation from 2016 through 2021, and in the area of
 Securities litigation for 2022 and 2023.

 Christopher graduated cum laude in 2013 from the University of Illinois College of Law, where he
 obtained his pro bono notation, honors in legal research, and was a member of the Federal Civil Rights
 Clinic, in which he first-chaired the case of Powers v. Coleman in the United States District Court for the
 Central District of Illinois. He earned his bachelor’s degree in Government & Law, with a minor in
 Anthropology & Sociology, from Lafayette College in 2010.

 Christopher is admitted to practice in Illinois and the United States District Courts for the District of
 Columbia, the Northern and Southern Districts of Illinois, the Eastern District of Michigan, and the
 Eastern District of Missouri.

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                                              Staff Attorneys

 Jay Douglas Dean

 Jay Dean focuses on class action securities litigation. He has been a commercial litigator for more than
 30 years.

 Jay has been practicing with Pomerantz since 2008, including as an associate from 2009-2014,
 interrupted by a year of private practice in 2014-2015. More recently, he was part of the Pomerantz
 teams prosecuting the successful Petrobras and Yahoo actions. Prior to joining Pomerantz, he served as
 an Assistant Corporation Counsel in the Office of the Corporation Counsel of the City of New York, most
 recently in its Pensions Division. While at Pomerantz, in the Corporation Counsel’s office and previously
 in large New York City firms, Jay has taken leading roles in trials, motions and appeals.

 Jay graduated in 1988 from Yale Law School, where he was Senior Editor of the Yale Journal of
 International Law.

 Jay is admitted to practice in New York; the United States District Courts for the Southern and Eastern
 Districts of New York; and the United States Court of Appeals for the Second Circuit. Jay has also earned
 the right to use the Chartered Financial Analyst designation.

 Timor Lahav

 Timor Lahav focuses his practice on securities litigation.

 Timor participated in the Firm’s securities class action case against Brazil’s largest oil company,
 Petrobras, arising from a multi-billion-dollar kickback and bribery scheme, in which the Firm, as sole
 Lead Counsel, achieved a historic $3 billion settlement for the Class, as well as precedent-setting legal
 rulings. Timor also participated in the firm’s landmark litigation against Yahoo! Inc., for the massive
 security breach that compromised 1.5 billion users' personal information.

 Timor received his LL.B. from Tel Aviv University School of Law in Israel, following which he clerked at
 one of Israel’s largest law firms. He was an associate at a law firm in Jerusalem, where, among other
 responsibilities, he drafted motions and appeals, including to the Israeli Supreme Court, on various civil
 matters.

 He received his LL.M. from Benjamin N. Cardozo School of Law in New York. There, Timor received the
 Uriel Caroline Bauer Scholarship, awarded to exceptional Israeli law graduates.

 Timor brings to Pomerantz several years’ experience as an attorney in New York, including examining
 local SOX anti-corruption compliance policies in correlation with the Foreign Corrupt Practices Act; and
 analysis of transactions in connection with DOJ litigation and SEC enforcement actions.

 Timor was a Captain in the Israeli Defense Forces. He is a native Hebrew speaker and is fluent in Russian.



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 He is admitted to practice in New York and Israel.

 Laura M. Perrone

 Laura M. Perrone focuses on class action securities litigation.

 Prior to joining Pomerantz, Laura worked on securities class action cases at Labaton Sucharow.
 Preceding that experience, she represented plaintiffs at her own securities law firm, the Law Offices of
 Laura M. Perrone, PLLC.

 At Pomerantz, Laura participated in the Firm’s securities class action case against Brazil’s largest oil
 company, Petrobras, arising from a multi-billion-dollar kickback and bribery scheme, in which the Firm,
 as sole Lead Counsel, achieved a historic $3 billion settlement for the Class, as well as precedent-setting
 legal rulings.

 Laura has also represented bondholders against Citigroup for its disastrous investments in residential
 mortgage-backed securities, shareholders against Barclays PLC for misrepresentations about its dark
 pool trading system known as Barclays LX, and shareholders against Fiat Chrysler Automobiles for
 misrepresentations about its recalls and its diesel emissions defeat devices.

 Laura graduated from the Benjamin N. Cardozo School of Law, where she was on the editorial staff of
 Cardozo’s Arts and Entertainment Law Journal and was the recipient of the Jacob Burns Merit
 Scholarship.

 Laura is admitted to practice in New York; the United States District Courts for the Southern and Eastern
 Districts of New York; and the United States Court of Appeals for the Second Circuit.

 Jason Ratigan

 Jason Ratigan brings to Pomerantz over a decade of litigation and e-discovery practice experience. Prior
 to joining the Firm, Jason worked on a wide variety of large-scale civil and government discovery cases.

 Jason earned his law degree from Washington & Lee University School of Law where he served as senior
 articles editor for the Journal of Civil Rights and Social Justice and graduated magna cum laude. In 2006,
 he graduated magna cum laude and Phi Beta Kappa from Texas Christian University with a B.A. in
 History.

 Jason is also an avid photographer and data analyst.

 He is admitted to practice in New York.




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 Allison Tierney

 Allison Tierney focuses her practice on securities litigation.

 Allison brings to Pomerantz her 10 years’ expertise in large-scale securities class action litigation. She
 participated in the Firm’s securities class action case against Brazil’s largest oil company, Petrobras,
 arising from a multi-billion-dollar kickback and bribery scheme, in which the Firm, as sole Lead Counsel,
 achieved a historic $3 billion settlement for the Class, as well as precedent-setting legal rulings.

 Prior to joining Pomerantz, Allison worked on securities class action cases at several top New York law
 firms, representing institutional investors. She has represented plaintiffs in disputes related to antitrust
 violations, corporate financial malfeasance, and residential mortgage-backed securities fraud.

 Allison earned her law degree from Hofstra University School of Law, where she served as notes and
 comments editor for the Cyberlaw Journal. She received her B.A. in Psychology from Boston University,
 where she graduated magna cum laude.

 Allison is conversant in Spanish and studying to become fluent.

 Allison is admitted to practice in New York.




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